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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF CALIFORNIA

JOSEPH SCHWARTZ,                     )
                                     )
ROSIE SCHWARTZ,                      )
                                     )
DOYLESTOWN CARE AND                  )
REHABILITATION CENTER, LLC,          )
                                     )
LANCASTER CARE AND                   )
REHABILITATION CENTER, LLC,          )
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LANSDALE CARE AND                    )
REHABILITATION CENTER, LLC,          )
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PHOENIXVILLE CARE AND                )
REHABILITATION CENTER, LLC,          )
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READING CARE AND                     )           Case No. 20-cv-2044
REHABILITATION CENTER, LLC,          )
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ROSEMONT CARE AND                    )       DEMAND FOR JURY TRIAL
REHABILITATION CENTER, LLC,          )
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STENTON CARE AND                     )
REHABILITATION CENTER, LLC,          )
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BROKEN BOW CARE AND                  )
REHABILITATION CENTER, LLC,          )
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COLUMBUS CARE AND                    )
REHABILITATION CENTER, LLC,          )
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COZAD CARE AND REHABILITATION        )
CENTER, LLC,                         )
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FRANKLIN CARE AND                    )
REHABILITATION CENTER, LLC,          )
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FULLERTON CARE AND                   )
REHABILITATION CENTER, LLC,          )
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GRAND ISLAND LAKEVIEW CARE           )
AND REHABILITATION CENTER, LLC,      )
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GRAND ISLAND PARK PLACE CARE         )
AND REHABILITATION CENTER, LLC,      )
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HARTINGTON CARE AND                  )
REHABILITATION CENTER, LLC,          )
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NEBRASKA CITY CARE AND               )
REHABILITATION CENTER, LLC,          )
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NELIGH CARE AND REHABILITATION       )
CENTER, LLC,                         )
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NORFOLK CARE AND                     )
REHABILITATION CENTER, LLC,          )
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OMAHA METRO CARE AND                 )
REHABILITATION CENTER, LLC,          )
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SORENSEN CARE AND                    )
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O’NEILL CARE AND REHABILITATION      )
CENTER, LLC,                         )
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PLATTSMOUTH CARE AND                 )
REHABILITATION CENTER, LLC,          )
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SCHUYLER CARE AND                    )
REHABILITATION CENTER, LLC,          )
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SCOTTSBLUFF CARE AND                 )
REHABILITATION CENTER, LLC,          )
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SIDNEY CARE AND REHABILITATION       )
CENTER, LLC,                         )
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TEKAMAH CARE AND                     )
REHABILITATION CENTER, LLC,          )
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WAUSA CARE AND REHABILITATION        )
CENTER, LLC,                         )
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CHASE COUNTY CARE AND                )
REHABILITATION CENTER, LLC,          )


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DOWNS CARE AND REHABILITATION        )
CENTER, LLC,                         )
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EDWARDSVILLE CARE AND                )
REHABILITATION CENTER, LLC,          )
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EL DORADO CARE AND                   )
REHABILITATION CENTER, LLC,          )
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ESKRIDGE CARE AND                    )
REHABILITATION CENTER, LLC,          )
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KAW RIVER CARE AND                   )
REHABILITATION CENTER, LLC,          )
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LANSING CARE AND                     )
REHABILITATION CENTER, LLC,          )
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NEODESHA CARE AND                    )
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PARKWAY CARE AND                     )
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PITTSBURG CARE AND                   )
REHABILITATION CENTER, LLC,          )
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SPRING HILL CARE AND                 )
REHABILITATION CENTER, LLC,          )
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WAKEFIELD CARE AND                   )
REHABILITATION CENTER, LLC,          )
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WELLINGTON CARE AND                  )
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WICHITA CARE AND                     )
REHABILITATION CENTER, LLC,          )
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WILSON CARE AND REHABILITATION       )
CENTER, LLC,                         )
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ARLINGTON CARE AND                   )
REHABILITATION CENTER, LLC,          )


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ARMOUR CARE AND                      )
REHABILITATION CENTER, LLC,          )
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BELLA VISTA CARE AND                 )
REHABILITATION CENTER, LLC,          )
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BLACK HILLS CARE AND                 )
REHABILITATION CENTER, LLC,          )
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CLARK CARE AND REHABILITATION        )
CENTER, LLC,                         )
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COVINGTON CARE AND                   )
REHABILITATION CENTER, LLC,          )
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GROTON CARE AND REHABILITATION       )
CENTER, LLC,                         )
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IPSWICH CARE AND REHABILITATION      )
CENTER, LLC,                         )
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LAKE NORDEN CARE AND                 )
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MADISON CARE AND                     )
REHABILITATION CENTER, LLC,          )
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MEADOWBROOK CARE AND                 )
REHABILITATION CENTER, LLC,          )
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MILBANK CARE AND                     )
REHABILITATION CENTER, LLC,          )
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MOBRIDGE CARE AND                    )
REHABILITATION CENTER, LLC,          )
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PARK PLACE CARE AND                  )
REHABILITATION CENTER, LLC,          )
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PIERRE CARE AND REHABILITATION       )
CENTER, LLC,                         )
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PRAIRIE HILLS CARE AND               )
REHABILITATION CENTER, LLC,          )


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REDFIELD CARE AND                    )
REHABILITATION CENTER, LLC,          )
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SALEM CARE AND REHABILITATION        )
CENTER, LLC and                      )
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WATERTOWN CARE AND                   )
REHABILITATION CENTER, LLC           )
                                     )
           Plaintiffs,               )
                                     )
     vs.                             )
                                     )
NICHOLAS FINN,                       )
                                     )
RONALD E. SILVA,                     )
                                     )
GGNSC ADMINISTRATIVE SERVICES,       )
LLC,                                 )
GPH DOYLESTOWN, LP,                  )
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GPH LANCASTER, LP,                   )
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GPH LANSDALE, LP,                    )
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GPH PHILADELPHIA, LP,                )
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GPH PHOENIXVILLE II, LP,             )
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GPH MOUNT PENN, LP,                  )
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GPH ROSEMONT, LP,                    )
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GPH BROKEN BOW, LLC,                 )
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GPH COLUMBUS, LLC,                   )
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GPH COZAD, LLC,                      )
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GPH FRANKLIN III, LLC,               )
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GPH FULLERTON, LLC,                  )
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GPH GRAND ISLAND LAKEVIEW, LLC,      )
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GPH GRAND ISLAND PARK PLACE,         )
LLC,                                 )
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GPH HARTINGTON, LLC,                 )
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GPH NEBRASKA CITY, LLC,              )
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GPH NELIGH, LLC,                     )
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GPH NORFOLK VALLEY VIEW, LLC,        )
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GPH OMAHA HALLMARK, LLC,             )
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GPH OMAHA OAK GROVE, LLC,            )
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GPH O'NEILL, LLC,                    )
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GPH PLATTSMOUTH, LLC,                )
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GPH SCHUYLER, LLC,                   )
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GPH SCOTTSBLUFF, LLC,                )
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GPH SIDNEY, LLC,                     )
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GPH TEKAMAH, LLC,                    )
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GPH WAUSA, LLC,                      )
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GPH COTTONWOOD, LLC,                 )
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GPH DOWNS, LLC,                      )
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GPH EDWARDSVILLE II, LLC,            )
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GPH EDWARDSVILLE III, LLC            )
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GPH EDWARDSVILLE PARKWAY, LLC,       )
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GPH EL DORADO II, LLC,               )
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GPH ESKRIDGE, LLC,                   )


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GPH LANSING, LLC,                    )
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GPH LINCOLN, LLC,                    )
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GPH NEODESHA, LLC,                   )
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GPH PITTSBURG, LLC,                  )
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GPH SPRING HILL, LLC,                )
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GPH WAKEFIELD, LLC,                  )
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GPH WELLINGTON, LLC,                 )
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GPH WILSON, LLC,                     )
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GPH ARLINGTON, LLC,                  )
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GPH ARMOUR, LLC,                     )
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GPH CLARK, LLC,                      )
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GPH GROTON, LLC,                     )
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GPH IPSWICH, LLC,                    )
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GPH LAKE NORDEN, LLC,                )
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GPH MADISON SOUTH DAKOTA, LLC,       )
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GPH MILBANK II, LLC,                 )
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GPH MOBRIDGE, LLC,                   )
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GPH PIERRE, LLC,                     )
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GPH RAPID CITY BLACK HILLS, LLC,     )
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GPH RAPID CITY BELLA VISTA, LLC,     )
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GPH RAPID CITY MEADOWBROOK           )
MANOR, LLC,                          )
                                     )
GPH RAPID CITY II, LLC,              )


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GPH REDFIELD, LLC,                   )
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GPH SALEM, LLC,                      )
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GPH SIOUX FALLS, LLC,                )
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GPH WATERTOWN ACQUISITION, LLC,      )
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GGNSC DOYLESTOWN, LP,                )
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GGNSC LANCASTER, LP,                 )
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GGNSC LANSDALE, LP,                  )
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GGNSC PHILADELPHIA, LP,              )
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GGNSC PHOENIXVILLE II, LP,           )
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GGNSC MOUNT PENN, LP,                )
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GGNSC ROSEMONT, LP,                  )
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GGNSC BROKEN BOW, LLC,               )
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GGNSC COLUMBUS, LLC,                 )
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GGNSC COZAD, LLC,                    )
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GGNSC FRANKLIN III, LLC,             )
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GGNSC FULLERTON, LLC,                )
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GGNSC GRAND ISLAND LAKEVIEW,         )
LLC,                                 )
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GGNSC GRAND ISLAND PARK PLACE,       )
LLC,                                 )
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GGNSC HARTINGTON, LLC,               )
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GGNSC NEBRASKA CITY, LLC,            )
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GGNSC NELIGH, LLC,                   )
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GGNSC NORFOLK VALLEY VIEW, LLC,      )
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GGNSC OMAHA HALLMARK, LLC,           )
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GGNSC OMAHA OAK GROVE, LLC,          )
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GGNSC O'NEILL, LLC,                  )
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GGNSC PLATTSMOUTH, LLC,              )
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GGNSC SCHUYLER, LLC,                 )
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GGNSC SCOTTSBLUFF, LLC,              )
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GGNSC SIDNEY, LLC,                   )
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GGNSC TEKAMAH, LLC,                  )
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GGNSC WAUSA, LLC,                    )
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GGNSC COTTONWOOD, LLC,               )
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GGNSC DOWNS, LLC,                    )
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GGNSC EDWARDSVILLE II, LLC,          )
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GGNSC EDWARDSVILLE III, LLC          )
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GGNSC EDWARDSVILLE PARKWAY,          )
LLC,                                 )
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GGNSC EL DORADO II, LLC,             )
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GGNSC ESKRIDGE, LLC,                 )
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GGNSC LANSING, LLC,                  )
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GGNSC LINCOLN, LLC,                  )
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GGNSC NEODESHA, LLC,                 )
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GGNSC PITTSBURG, LLC,                )
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GGNSC SPRING HILL, LLC,              )


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GGNSC WAKEFIELD, LLC,                 )
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GGNSC WELLINGTON, LLC,                )
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GGNSC WILSON, LLC,                    )
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GGNSC ARLINGTON, LLC,                 )
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GGNSC ARMOUR, LLC,                    )
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GGNSC CLARK, LLC,                     )
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GGNSC GROTON, LLC,                    )
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GGNSC IPSWICH, LLC,                   )
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GGNSC LAKE NORDEN, LLC,               )
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GGNSC MADISON SOUTH DAKOTA,           )
LLC,                                  )
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GGNSC MILBANK II,LLC,                 )
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GGNSC MOBRIDGE, LLC,                  )
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GGNSC PIERRE, LLC,                    )
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GGNSC RAPID CITY BLACK HILLS,         )
LLC,                                  )
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GGNSC RAPID CITY BELLA VISTA,         )
LLC,                                  )
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GGNSC RAPID CITY MEADOWBROOK          )
MANOR, LLC,                           )
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GGNSC RAPID CITY II, LLC,             )
                                      )
GGNSC REDFIELD, LLC,                  )
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GGNSC SALEM, LLC,                     )
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GGNSC SIOUX FALLS, LLC,               )
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GGNSC WATERTOWN OPERATING,                     )
LLC, and,                                      )
                                               )
JOHN & JANE DOES 1 – 10,                       )
                                               )
       Defendants.                             )

                                       COMPLAINT

       Plaintiffs Joseph Schwartz; Rosie Schwartz; Doylestown Care and Rehabilitation Center,

LLC; Lancaster Care and Rehabilitation Center,, LLC; Lansdale Care and Rehabilitation Center,

LLC; Phoenixville Care and Rehabilitation Center, LLC; Reading Care and Rehabilitation

Center, LLC; Rosemont Care and Rehabilitation Center, LLC; Stenton Care and Rehabilitation

Center, LLC; Broken Bow Care and Rehabilitation Center, LLC; Columbus Care and

Rehabilitation Center, LLC; Cozad Care and Rehabilitation Center, LLC; Franklin Care and

Rehabilitation Center, LLC; Fullerton Care and Rehabilitation Center, LLC; Grand Island

Lakeview Care and Rehabilitation Center, LLC; Grand Island Park Place Care and Rehabilitation

Center, LLC; Hartington Care and Rehabilitation Center, LLC; Nebraska City Care and

Rehabilitation Center, LLC; Neligh Care and Rehabilitation Center, LLC; Norfolk Care and

Rehabilitation Center, LLC; Omaha Metro Care and Rehabilitation Center, LLC; Sorensen Care

and Rehabilitation Center, LLC; O’Neill Care and Rehabilitation Center, LLC; Plattsmouth Care

and Rehabilitation Center, LLC; Schuyler Care and Rehabilitation Center, LLC; Scottsbluff Care

and Rehabilitation Center, LLC; Sidney Care and Rehabilitation Center, LLC; Tekamah Care

and Rehabilitation Center, LLC; Wausa Care and Rehabilitation Center, LLC; Chase County

Care and Rehabilitation Center, LLC; Downs Care and Rehabilitation Center, LLC;

Edwardsville Care and Rehabilitation Center, LLC; El Dorado Care and Rehabilitation Center,

LLC; Eskridge Care and Rehabilitation Center, LLC; Kaw River Care and Rehabilitation Center,


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LLC; Lansing Care and Rehabilitation Center, LLC; Neodesha Care and Rehabilitation Center,

LLC; Parkway Care and Rehabilitation Center, LLC; Pittsburg Care and Rehabilitation Center,

LLC; Spring Hill Care and Rehabilitation Center, LLC; Wakefield Care and Rehabilitation

Center, LLC; Wellington Care and Rehabilitation Center, LLC; Wichita Care and Rehabilitation

Center, LLC; Wilson Care and Rehabilitation Center, LLC; Arlington Care and Rehabilitation

Center, LLC; Armour Care and Rehabilitation Center, LLC; Bella Vista Care and Rehabilitation

Center, LLC; Black Hills Care and Rehabilitation Center, LLC; Clark Care and Rehabilitation

Center, LLC; Covington Care and Rehabilitation Center, LLC; Groton Care and Rehabilitation

Center, LLC; Ipswich Care and Rehabilitation Center, LLC; Lake Norden Care and

Rehabilitation Center, LLC; Madison Care and Rehabilitation Center, LLC; Meadowbrook Care

and Rehabilitation Center, LLC; Milbank Care and Rehabilitation Center, LLC; Mobridge Care

and Rehabilitation Center, LLC; Park Place Care and Rehabilitation Center, LLC; Pierre Care

and Rehabilitation Center, LLC; Prairie Hills Care and Rehabilitation Center, LLC; Redfield

Care and Rehabilitation Center, LLC; Salem Care and Rehabilitation Center, LLC; and

Watertown Care And Rehabilitation Center, LLC (collectively “Plaintiffs”), by and through their

undersigned counsel, and pursuant to Rule 8 and 10 of the Federal Rules of Civil Procedure,

submit their Complaint against Defendants Nicholas Finn, Ronald E. Silva, GGNSC

Administrative Services, LLC; GPH Doylestown, LP; GPH Lancaster, LP; GPH Lansdale, LP;

GPH Philadelphia, LP; GPH Phoenixville II, LP; GPH Mount Penn, LP; GPH Rosemont, LP;

GPH Broken Bow, LLC; GPH Columbus, LLC; GPH Cozad, LLC; GPH Franklin III, LLC;

GPH Fullerton, LLC; GPH Grand Island Lakeview, LLC; GPH Grand Island Park Place, LLC;

GPH Hartington, LLC; GPH Nebraska City, LLC; GPH Neligh, LLC; GPH Norfolk Valley



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View, LLC; GPH Omaha Hallmark, LLC; GPH Omaha Oak Grove, LLC; GPH O'Neill, LLC;

GPH Plattsmouth, LLC; GPH Schuyler, LLC; GPH Scottsbluff, LLC; GPH Sidney, LLC; GPH

Tekamah, LLC; GPH Wausa, LLC; GPH Cottonwood, LLC; GPH Downs, LLC; GPH

Edwardsville II, LLC; GPH Edwardsville III, LLC; GPH Edwardsville Parkway, LLC; GPH El

Dorado II, LLC; GPH Eskridge, LLC; GPH Lansing, LLC; GPH Lincoln, LLC; GPH Neodesha,

LLC; GPH Pittsburg, LLC; GPH Spring Hill, LLC; GPH Wakefield, LLC; GPH Wellington,

LLC; GPH Wilson, LLC; GPH Arlington, LLC; GPH Armour, LLC; GPH Clark, LLC; GPH

Groton, LLC; GPH Ipswich, LLC; GPH Lake Norden, LLC; GPH Madison South Dakota, LLC;

GPH Milbank II, LLC; GPH Mobridge, LLC; GPH Pierre, LLC; GPH Rapid City Black Hills,

LLC; GPH Rapid City Bella Vista, LLC; GPH Rapid City Meadowbrook Manor, LLC; GPH

Rapid City II, LLC; GPH Redfield, LLC; GPH Salem, LLC; GPH Sioux Falls, LLC; GPH

Watertown Acquisition, LLC; GGNSC Doylestown, LP; GGNSC Lancaster, LP; GGNSC

Lansdale, LP; GGNSC Philadelphia, LP; GGNSC Phoenixville II, LP; GGNSC Mount Penn, LP;

GGNSC Rosemont, LP; GGNSC Broken Bow, LLC; GGNSC Columbus, LLC; GGNSC Cozad,

LLC; GGNSC Franklin III, LLC; GGNSC Fullerton, LLC; GGNSC Grand Island Lakeview,

LLC; GGNSC Grand Island Park Place, LLC; GGNSC Hartington, LLC; GGNSC Nebraska

City, LLC; GGNSC Neligh, LLC; GGNSC Norfolk Valley View, LLC; GGNSC Omaha

Hallmark, LLC; GGNSC Omaha Oak Grove, LLC; GGNSC O'Neill, LLC; GGNSC Plattsmouth,

LLC; GGNSC Schuyler, LLC; GGNSC Scottsbluff, LLC; GGNSC Sidney, LLC; GGNSC

Tekamah, LLC; GGNSC Wausa, LLC; GGNSC Cottonwood, LLC; GGNSC Downs, LLC;

GGNSC Edwardsville II, LLC; GGNSC Edwardsville III, LLC; GGNSC Edwardsville Parkway,

LLC; GGNSC El Dorado II, LLC; GGNSC Eskridge, LLC; GGNSC Lansing, LLC; GGNSC



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Lincoln, LLC; GGNSC Neodesha, LLC; GGNSC Pittsburg, LLC; GGNSC Spring Hill, LLC;

GGNSC Wakefield, LLC; GGNSC Wellington, LLC; GGNSC Wilson, LLC; GGNSC Arlington,

LLC; GGNSC Armour, LLC; GGNSC Clark, LLC; GGNSC Groton, LLC; GGNSC Ipswich,

LLC; GGNSC Lake Norden, LLC; GGNSC Madison South Dakota, LLC; GGNSC Milbank II,

LLC; GGNSC Mobridge, LLC; GGNSC Pierre, LLC; GGNSC Rapid City Black Hills, LLC;

GGNSC Rapid City Bella Vista, LLC; GGNSC Rapid City Meadowbrook Manor, LLC; GGNSC

Rapid City II, LLC; GGNSC Redfield, LLC; GGNSC Salem, LLC; GGNSC Sioux Falls, LLC;

GGNSC Watertown Operating, LLC; and John & Jane Does 1 – 10 (collectively “Defendants”),

and alleges as follows:

                                            PARTIES

       1.      Plaintiff Joseph Schwartz is a natural person and citizen of New York with a

principal address of 1859 54th Street, Brooklyn, New York.

       2.      Plaintiff Rosie Schwartz is a natural person and citizen of New York with a

principal address of 1859 54th Street, Brooklyn, New York.

       3.      Plaintiff Doylestown Care and Rehabilitation Center, LLC is a Pennsylvania

limited liability company. Its sole member is JS PA Healthcare, LLC, a Pennsylvania limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       4.      Plaintiff Lancaster Care and Rehabilitation Center, LLC is a Pennsylvania limited

liability company. Its sole member is JS PA Healthcare, LLC, a Pennsylvania limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.



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       5.     Plaintiff Lansdale Care and Rehabilitation Center, LLC is a Pennsylvania limited

liability company. Its sole member is JS PA Healthcare, LLC, a Pennsylvania limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       6.     Plaintiff Phoenixville Care and Rehabilitation Center, LLC is a Pennsylvania

limited liability company. Its sole member is JS PA Healthcare, LLC, a Pennsylvania limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       7.     Plaintiff Reading Care and Rehabilitation Center, LLC is a Pennsylvania limited

liability company. Its sole member is JS PA Healthcare, LLC, a Pennsylvania limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       8.     Plaintiff Rosemont Care and Rehabilitation Center, LLC is a Pennsylvania limited

liability company. Its sole member is JS PA Healthcare, LLC, a Pennsylvania limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       9.     Plaintiff Stenton Care and Rehabilitation Center, LLC is a Pennsylvania limited

liability company. Its sole member is JS PA Healthcare, LLC, a Pennsylvania limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       10.    Plaintiff Broken Bow Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability



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company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       11.    Plaintiff Columbus Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       12.    Plaintiff Cozad Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       13.    Plaintiff Franklin Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       14.    Plaintiff Fullerton Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       15.    Plaintiff Grand Island Lakeview Care and Rehabilitation Center, LLC is a

Nebraska limited liability company. Its sole member is Cottonwood Healthcare, LLC, a

Nebraska limited liability company. Additionally, its sole member is Joseph Schwartz, a natural

person and citizen of New York with a principal address of 1859 54th Street, Brooklyn, New



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York.

        16.   Plaintiff Grand Island Park Place Care and Rehabilitation Center, LLC is a

Nebraska limited liability company. Its sole member is Cottonwood Healthcare, LLC, a

Nebraska limited liability company. Additionally, its sole member is Joseph Schwartz, a natural

person and citizen of New York with a principal address of 1859 54th Street, Brooklyn, New

York.

        17.   Plaintiff Hartington Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

        18.   Plaintiff Nebraska City Care and Rehabilitation Center, LLC is a Nebraska

limited liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

        19.   Plaintiff Neligh Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

        20.   Plaintiff Norfolk Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.



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       21.    Plaintiff Omaha Metro Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       22.    Plaintiff Sorensen Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       23.    Plaintiff O’Neill Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       24.    Plaintiff Plattsmouth Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       25.    Plaintiff Schuyler Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       26.    Plaintiff Scottsbluff Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability



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company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       27.    Plaintiff Sidney Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       28.    Plaintiff Tekamah Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       29.    Plaintiff Wausa Care and Rehabilitation Center, LLC is a Nebraska limited

liability company. Its sole member is Cottonwood Healthcare, LLC, a Nebraska limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       30.    Plaintiff Chase County Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       31.    Plaintiff Downs Care and Rehabilitation Center, LLC is a Kansas limited liability

company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability company.

Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New York with

a principal address of 1859 54th Street, Brooklyn, New York.



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       32.    Plaintiff Edwardsville Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       33.    Plaintiff El Dorado Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       34.    Plaintiff Eskridge Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       35.    Plaintiff Kaw River Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       36.    Plaintiff Lansing Care and Rehabilitation Center, LLC is a Kansas limited liability

company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability company.

Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New York with

a principal address of 1859 54th Street, Brooklyn, New York.

       37.    Plaintiff Neodesha Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability



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company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       38.    Plaintiff Parkway Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       39.    Plaintiff Pittsburg Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       40.    Plaintiff Spring Hill Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       41.    Plaintiff Wakefield Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.

       42.    Plaintiff Wellington Care and Rehabilitation Center, LLC is a Kansas limited

liability company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability

company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New

York with a principal address of 1859 54th Street, Brooklyn, New York.



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       43.    Plaintiff Wichita Care and Rehabilitation Center, LLC is a Kansas limited liability

company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability company.

Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New York with

a principal address of 1859 54th Street, Brooklyn, New York.

       44.    Plaintiff Wilson Care and Rehabilitation Center, LLC is a Kansas limited liability

company. Its sole member is Great Plains Healthcare, LLC, a Kansas limited liability company.

Additionally, its sole member is Joseph Schwartz, a natural person and citizen of New York with

a principal address of 1859 54th Street, Brooklyn, New York.

       45.    Plaintiff Arlington Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       46.    Plaintiff Armour Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       47.    Plaintiff Bella Vista Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota

limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       48.    Plaintiff Black Hills Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota



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limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       49.    Plaintiff Clark Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       50.    Plaintiff Covington Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota

limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       51.    Plaintiff Groton Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       52.    Plaintiff Ipswich Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       53.    Plaintiff Lake Norden Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota

limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.



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       54.    Plaintiff Madison Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       55.    Plaintiff Meadowbrook Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota

limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       56.    Plaintiff Milbank Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       57.    Plaintiff Mobridge Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       58.    Plaintiff Park Place Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota

limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       59.    Plaintiff Pierre Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited



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liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       60.    Plaintiff Prairie Hills Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota

limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       61.    Plaintiff Redfield Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       62.    Plaintiff Salem Care and Rehabilitation Center, LLC is a South Dakota limited

liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota limited

liability company. Additionally, its sole member is Joseph Schwartz, a natural person and citizen

of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       63.    Plaintiff Watertown Care and Rehabilitation Center, LLC is a South Dakota

limited liability company. Its sole member is SD Sky Healthcare Holdings, LLC, a South Dakota

limited liability company. Additionally, its sole member is Joseph Schwartz, a natural person and

citizen of New York with a principal address of 1859 54th Street, Brooklyn, New York.

       64.    Defendant Nicholas Finn is a natural person and resident of Arkansas.

       65.    Defendant Ronald E. Silva is a natural person and resident of California.

       66.    Defendant GGNSC Administrative Services, LLC is a Delaware limited liability

which is ultimately a citizen of Delaware and California because its sole member is Drumm



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Corp., a Delaware corporation with its principal place of business in San Francisco, California.

       67.     Defendant GPH Doylestown, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Doylestown, LP’s general partner is GPH Doylestown GP, LLC, a Delaware limited liability

company; (ii) GPH Doylestown GP, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       68.     Defendant GPH Lancaster, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Lancaster, LP’s general partner is GPH Lancaster GP, LLC, a Delaware limited liability

company; (ii) GPH Lancaster GP, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       69.     Defendant GPH Lansdale, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Lansdale, LP’s general partner is GPH Lansdale GP, LLC, a Delaware limited liability company;

(ii) GPH Lansdale GP, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole member



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is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       70.     Defendant GPH Philadelphia, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Philadelphia, LP’s general partner is GPH Philadelphia GP, LLC, a Delaware limited liability

company; (ii) GPH Philadelphia GP, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       71.     Defendant GPH Phoenixville II, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Phoenixville II, LP’s general partner is GPH Phoenixville II GP, LLC, a Delaware limited

liability company; (ii) GPH Phoenixville II GP, LLC’s sole member is Golden Gate National

Senior Care, LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care,

LLC’s sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv)

GGNSC Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its

principal place of business in San Francisco, California.

       72.     Defendant GPH Mount Penn, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Mount Penn, LP’s general partner is GPH Mount Penn GP, LLC, a Delaware limited liability



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company; (ii) GPH Mount Penn GP, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       73.     Defendant GPH Rosemont, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Rosemont, LP’s general partner is GPH Rosemont GP, LLC, a Delaware limited liability

company; (ii) GPH Rosemont GP, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       74.     Defendant GPH Broken Bow, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Broken Bow, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       75.     Defendant GPH Columbus, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH



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Columbus, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       76.     Defendant GPH Cozad, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Cozad, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       77.     Defendant GPH Franklin III, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Franklin III, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       78.     Defendant GPH Fullerton, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Fullerton, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited



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liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       79.     Defendant GPH Grand Island Lakeview, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GPH Grand Island Lakeview, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       80.     Defendant GPH Grand Island Park Place, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GPH Grand Island Park Place, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       81.     Defendant GPH Hartington, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Hartington, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC



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Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       82.     Defendant GPH Nebraska City, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GPH Nebraska City, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       83.     Defendant GPH Neligh, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Neligh, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       84.     Defendant GPH Norfolk Valley View, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GPH Norfolk Valley View, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC



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Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       85.     Defendant GPH Omaha Hallmark, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GPH Omaha Hallmark, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       86.     Defendant GPH Omaha Oak Grove, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GPH Omaha Oak Grove, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       87.     Defendant GPH O'Neill, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

O'Neill, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San



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Francisco, California.

       88.     Defendant GPH Plattsmouth, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Plattsmouth, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       89.     Defendant GPH Schuyler, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Schuyler, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       90.     Defendant GPH Scottsbluff, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Scottsbluff, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.



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       91.     Defendant GPH Sidney, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Sidney, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       92.     Defendant GPH Tekamah, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Tekamah, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       93.     Defendant GPH Wausa, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Wausa, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       94.     Defendant GPH Cottonwood, LLC is a Delaware limited liability company which



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is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Cottonwood, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       95.     Defendant GPH Downs, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Downs, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       96.     Defendant GPH Edwardsville II, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GPH Edwardsville II, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       97.     Defendant GPH Edwardsville III, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)



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GPH Edwardsville III, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       98.     Defendant GPH Edwardsville Parkway, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GPH Edwardsville Parkway, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       99.     Defendant GPH El Dorado II, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH El

Dorado II, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       100.    Defendant GPH Eskridge, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Eskridge, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited



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liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       101.    Defendant GPH Lansing, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Lansing, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       102.    Defendant GPH Lincoln, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Lincoln, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       103.    Defendant GPH Neodesha, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Neodesha, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC



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Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       104.    Defendant GPH Pittsburg, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Pittsburg, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       105.    Defendant GPH Spring Hill, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Spring Hill, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       106.    Defendant GPH Wakefield, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Wakefield, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole



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member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       107.    Defendant GPH Wellington, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Wellington, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       108.    Defendant GPH Wilson, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Wilson, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       109.    Defendant GPH Arlington, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Arlington, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San



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Francisco, California.

       110.    Defendant GPH Armour, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Armour, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       111.    Defendant GPH Clark, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Clark, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       112.    Defendant GPH Groton, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Groton, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.



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       113.    Defendant GPH Ipswich, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Ipswich, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       114.    Defendant GPH Lake Norden, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GPH Lake Norden, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       115.    Defendant GPH Madison South Dakota, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GPH Madison South Dakota, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       116.    Defendant GPH Milbank II, LLC is a Delaware limited liability company which



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is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Milbank II, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       117.    Defendant GPH Mobridge, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Mobridge, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       118.    Defendant GPH Pierre, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Pierre, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       119.    Defendant GPH Rapid City Black Hills, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal



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entities: (i) GPH Rapid City Black Hills, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       120.    Defendant GPH Rapid City Bella Vista, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GPH Rapid City Bella Vista, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       121.    Defendant GPH Rapid City Meadowbrook Manor, LLC is a Delaware limited

liability company which is ultimately a citizen of Delaware and California through the following

legal entities: (i) GPH Rapid City Meadowbrook Manor, LLC’s sole member is Golden Gate

National Senior Care, LLC, a Delaware limited liability company; (ii) Golden Gate National

Senior Care, LLC’s sole member is GGNSC Holdings, LLC, a Delaware limited liability

company; and (iii) GGNSC Holdings, LLC’s sole member is Drumm Corp., a Delaware

corporation with its principal place of business in San Francisco, California.

       122.    Defendant GPH Rapid City II, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GPH Rapid City II, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware



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limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       123.    Defendant GPH Redfield, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Redfield, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       124.    Defendant GPH Salem, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Salem, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       125.    Defendant GPH Sioux Falls, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i) GPH

Sioux Falls, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GPH Holdings,



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LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole member is

Drumm Corp., a Delaware corporation with its principal place of business in San Francisco,

California.

       126.    Defendant GPH Watertown Acquisition, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GPH Watertown Acquisition, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       127.    Defendant GGNSC Doylestown, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Doylestown, LP’s general partner is GGNSC Doylestown GP, LLC, a Delaware limited liability

company; (ii) GGNSC Doylestown GP, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       128.    Defendant GGNSC Lancaster, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Lancaster, LP’s general partner is GGNSC Lancaster GP, LLC, a Delaware limited liability

company; (ii) GGNSC Lancaster GP, LLC’s sole member is Golden Gate National Senior Care,



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LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       129.    Defendant GGNSC Lansdale, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Lansdale, LP’s general partner is GGNSC Lansdale GP, LLC, a Delaware limited liability

company; (ii) GGNSC Lansdale GP, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       130.    Defendant GGNSC Philadelphia, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Philadelphia, LP’s general partner is GGNSC Philadelphia GP, LLC, a Delaware limited liability

company; (ii) GGNSC Philadelphia GP, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       131.    Defendant GGNSC Phoenixville II, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC



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Phoenixville II, LP’s general partner is GGNSC Phoenixville II GP, LLC, a Delaware limited

liability company; (ii) GGNSC Phoenixville II GP, LLC’s sole member is Golden Gate National

Senior Care, LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care,

LLC’s sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv)

GGNSC Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its

principal place of business in San Francisco, California.

       132.    Defendant GGNSC Mount Penn, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Mount Penn, LP’s general partner is GGNSC Mount Penn GP, LLC, a Delaware limited liability

company; (ii) GGNSC Mount Penn GP, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       133.    Defendant GGNSC Rosemont, LP is a Delaware limited partnership which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Rosemont, LP’s general partner is GGNSC Rosemont GP, LLC, a Delaware limited liability

company; (ii) GGNSC Rosemont GP, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iv) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.



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       134.    Defendant GGNSC Broken Bow, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Broken Bow, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       135.    Defendant GGNSC Columbus, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Columbus, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (iii) Golden Gate National Senior Care, LLC’s sole member is

GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       136.    Defendant GGNSC Cozad, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Cozad, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       137.    Defendant GGNSC Franklin III, LLC is a Delaware limited liability company



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which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Franklin III, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       138.    Defendant GGNSC Fullerton, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Fullerton, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       139.    Defendant GGNSC Grand Island Lakeview, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Grand Island Lakeview, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       140.    Defendant GGNSC Grand Island Park Place, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal



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entities: (i) GGNSC Grand Island Park Place, LLC’s sole member is Golden Gate National

Senior Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care,

LLC’s sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii)

GGNSC Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its

principal place of business in San Francisco, California.

       141.    Defendant GGNSC Hartington, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Hartington, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       142.    Defendant GGNSC Nebraska City, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Nebraska City, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       143.    Defendant GGNSC Neligh, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Neligh, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited



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liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       144.    Defendant GGNSC Norfolk Valley View, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Norfolk Valley View, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       145.    Defendant GGNSC Omaha Hallmark, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Omaha Hallmark View, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       146.    Defendant GGNSC Omaha Oak Grove, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Omaha Oak Grove, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s



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sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       147.    Defendant GGNSC O'Neill, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC O'Neill, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       148.    Defendant GGNSC Plattsmouth, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Plattsmouth, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       149.    Defendant GGNSC Schuyler, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Schuyler, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole



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member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       150.    Defendant GGNSC Scottsbluff, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Scottsbluff, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       151.    Defendant GGNSC Sidney, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Sidney, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       152.    Defendant GGNSC Tekamah, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Tekamah, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San



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Francisco, California.

       153.    Defendant GGNSC Wausa, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Wausa, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       154.    Defendant GGNSC Cottonwood, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Cottonwood, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       155.    Defendant GGNSC Downs, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Downs, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.



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       156.    Defendant GGNSC Edwardsville II, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Edwardsville II, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       157.    Defendant GGNSC Edwardsville III, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Edwardsville III, LLC’s sole member is Golden Gate National Senior Care,

LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole

member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       158.    Defendant GGNSC Edwardsville Parkway, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Edwardsville Parkway, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       159.    Defendant GGNSC El Dorado II, LLC is a Delaware limited liability company



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which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC El Dorado II, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       160.    Defendant GGNSC Eskridge, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Eskridge, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       161.    Defendant GGNSC Lansing, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Lansing, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       162.    Defendant GGNSC Lincoln, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)



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GGNSC Lincoln, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       163.    Defendant GGNSC Neodesha, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Neodesha, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       164.    Defendant GGNSC Pittsburg, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Pittsburg, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       165.    Defendant GGNSC Spring Hill, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Spring Hill, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware



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limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       166.    Defendant GGNSC Wakefield, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Wakefield, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       167.    Defendant GGNSC Wellington, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Wellington, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       168.    Defendant GGNSC Wilson, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Wilson, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC



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Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       169.    Defendant GGNSC Arlington, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Arlington, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       170.    Defendant GGNSC Armour, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Armour, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       171.    Defendant GGNSC Clark, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Clark, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole



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member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       172.    Defendant GGNSC Groton, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Groton, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       173.    Defendant GGNSC Ipswich, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Ipswich, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       174.    Defendant GGNSC Lake Norden, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Lake Norden, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business



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in San Francisco, California.

       175.    Defendant GGNSC Madison South Dakota, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Madison South Dakota, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       176.    Defendant GGNSC Milbank II, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Milbank II, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       177.    Defendant GGNSC Mobridge, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Mobridge, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.



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       178.    Defendant GGNSC Pierre, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC

Pierre, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       179.    Defendant GGNSC Rapid City Black Hills, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Rapid City Black Hills, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       180.    Defendant GGNSC Rapid City Bella Vista, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Rapid City Bella Vista, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       181.    Defendant GGNSC Rapid City Meadowbrook Manor, LLC is a Delaware limited



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liability company which is ultimately a citizen of Delaware and California through the following

legal entities: (i) GGNSC Rapid City Meadowbrook Manor, LLC’s sole member is Golden Gate

National Senior Care, LLC, a Delaware limited liability company; (ii) Golden Gate National

Senior Care, LLC’s sole member is GGNSC Holdings, LLC, a Delaware limited liability

company; and (iii) GGNSC Holdings, LLC’s sole member is Drumm Corp., a Delaware

corporation with its principal place of business in San Francisco, California.

       182.    Defendant GGNSC Rapid City II, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Rapid City II, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       183.    Defendant GGNSC Redfield, LLC is a Delaware limited liability company which

is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Redfield, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware

limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       184.    Defendant GGNSC Salem, LLC is a Delaware limited liability company which is

ultimately a citizen of Delaware and California through the following legal entities: (i) GGNSC



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Salem, LLC’s sole member is Golden Gate National Senior Care, LLC, a Delaware limited

liability company; (ii) Golden Gate National Senior Care, LLC’s sole member is GGNSC

Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings, LLC’s sole

member is Drumm Corp., a Delaware corporation with its principal place of business in San

Francisco, California.

       185.    Defendant GGNSC Sioux Falls, LLC is a Delaware limited liability company

which is ultimately a citizen of Delaware and California through the following legal entities: (i)

GGNSC Sioux Falls, LLC’s sole member is Golden Gate National Senior Care, LLC, a

Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s sole member

is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC Holdings,

LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place of business

in San Francisco, California.

       186.    Defendant GGNSC Watertown Operating, LLC is a Delaware limited liability

company which is ultimately a citizen of Delaware and California through the following legal

entities: (i) GGNSC Watertown Operating, LLC’s sole member is Golden Gate National Senior

Care, LLC, a Delaware limited liability company; (ii) Golden Gate National Senior Care, LLC’s

sole member is GGNSC Holdings, LLC, a Delaware limited liability company; and (iii) GGNSC

Holdings, LLC’s sole member is Drumm Corp., a Delaware corporation with its principal place

of business in San Francisco, California.

       187.    Upon information and belief, Defendants John & Jane Does 1 through 10 are

unknown, but indispensable parties to this matter and are likely be identified through discovery.




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                                    JURISDICTION AND VENUE

       188.    There is complete diversity between the parties pursuant to 28 U.S.C. § 1332

because Plaintiffs’ member is a citizen of New York, and Defendants’ are citizens of California,

Delaware, and Arkansas.

       189.    As set forth below and incorporated herein, the amount in controversy

requirements of 28 U.S.C. § 1332 are satisfied in that there is more than $ 75,000.00 at issue,

exclusive of costs and interest.

        190. This action properly lies in the Northern District of California pursuant to 28

U.S.C. § 1391(a), because a substantial part of the acts or omissions giving rise to this action

occurred in the Northern District of California.

                                           BACKGROUND

       191.    Plaintiffs incorporate by reference paragraphs 1 through 190.

       192.    In early 2018, Defendant GGNSC Administrative Services, LLC, through its

agent Houlihan Lokey, marketed the operations portion of its portfolio which consisted of 291

skilled nursing facilities across twenty-one (21) states.

       193.    As part of its marketing scheme, Defendants, through Houlihan Lokey, prepared

misleading, false, and manipulated financials for each of its nursing home facilities with the

purpose of enticing prospective tenants and new operators to overpay for the leased of its

facilities. In fact, Defendants proved successful with its scheme.

       194.    Specifically, Defendants knew that several of its expenses in the disclosed

financial statements were significantly below the rates that would be charged to any new

operator of those facilities. This includes, but is not limited to, the preferential rates Defendants



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received from Staffing 360 (the staffing company used for all of its facilities) would not be

extended to any subsequent operator of those facilities.

       195.    Instead of accurately representing the expenses on the disclosed financial

statements to reflect this increase in costs to operate the facilities, or that the preferential rates

would, or would not, continue, Defendants, through its agent Houlihan Lokey, intentionally and

willfully reduced expense figures to falsely reflect its most current negotiated contract(s).

       196.    In reliance on the financials provided by Defendants, Plaintiffs submitted its

indication of interest (“IOI”) for sixty-one (61) nursing home facilities located in Nebraska,

Kansas, South Dakota, and Pennsylvania.

       197.    On or about August 26, 2016 and in reliance on the financial statements and

representations made by Defendants, twenty (20) separate Operations Transfer Agreements

(collectively “Nebraska OTAs”) were executed by Plaintiffs Broken Bow Care and

Rehabilitation Center, LLC; Columbus Care and Rehabilitation Center, LLC; Cozad Care and

Rehabilitation Center, LLC; Franklin Care and Rehabilitation Center, LLC; Fullerton Care and

Rehabilitation Center, LLC; Grand Island Lakeview Care and Rehabilitation Center, LLC; Grand

Island Park Place Care and Rehabilitation Center, LLC; Hartington Care and Rehabilitation

Center, LLC; Nebraska City Care and Rehabilitation Center, LLC; Neligh Care and

Rehabilitation Center, LLC; Norfolk Care and Rehabilitation Center, LLC; Omaha Metro Care

and Rehabilitation Center, LLC; Sorensen Care and Rehabilitation Center, LLC; O’Neill Care

and Rehabilitation Center, LLC; Plattsmouth Care and Rehabilitation Center, LLC; Schuyler

Care and Rehabilitation Center, LLC; Scottsbluff Care and Rehabilitation Center, LLC; Sidney

Care and Rehabilitation Center, LLC; Tekamah Care and Rehabilitation Center, LLC; and



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Wausa Care and Rehabilitation Center, LLC (collectively “New Nebraska Operators”) and

Defendants GGNSC Broken Bow, LLC; GGNSC Columbus, LLC; GGNSC Cozad, LLC;

GGNSC Franklin III, LLC; GGNSC Fullerton, LLC; GGNSC Grand Island Lakeview, LLC;

GGNSC Grand Island Park Place, LLC; GGNSC Hartington, LLC; GGNSC Nebraska City,

LLC; GGNSC Neligh, LLC; GGNSC Norfolk Valley View, LLC; GGNSC Omaha Hallmark,

LLC; GGNSC Omaha Oak Grove, LLC; GGNSC O'Neill, LLC; GGNSC Plattsmouth, LLC;

GGNSC Schuyler, LLC; GGNSC Scottsbluff, LLC; GGNSC Sidney, LLC; GGNSC Tekamah,

LLC; and GGNSC Wausa, LLC (collectively “Old Nebraska Operators”), respectively. See

Attached Exhibit A, an executed and representative OTA; one (1) of twenty (20)

transactions.

       198.     Also on or about August 26, 2016 and in reliance on the financial statements and

representations made by Defendants, fifteen (15) separate Operations Transfer Agreements

(collectively “Kansas OTAs”) were executed by Plaintiffs Chase County Care and Rehabilitation

Center, LLC; Downs Care and Rehabilitation Center, LLC; Edwardsville Care and

Rehabilitation Center, LLC; El Dorado Care and Rehabilitation Center, LLC; Eskridge Care and

Rehabilitation Center, LLC; Kaw River Care and Rehabilitation Center, LLC; Lansing Care and

Rehabilitation Center, LLC; Neodesha Care and Rehabilitation Center, LLC; Parkway Care and

Rehabilitation Center, LLC; Pittsburg Care and Rehabilitation Center, LLC; Spring Hill Care and

Rehabilitation Center, LLC; Wakefield Care and Rehabilitation Center, LLC; Wellington Care

and Rehabilitation Center, LLC; Wichita Care and Rehabilitation Center, LLC; and Wilson Care

and Rehabilitation Center, LLC (collectively “New Kansas Operators”) and GGNSC

Cottonwood, LLC; GGNSC Downs, LLC; GGNSC Edwardsville II, LLC; GGNSC Edwardsville



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III, LLC; GGNSC Edwardsville Parkway, LLC; GGNSC El Dorado II, LLC; GGNSC Eskridge,

LLC; GGNSC Lansing, LLC; GGNSC Lincoln, LLC; GGNSC Neodesha, LLC; GGNSC

Pittsburg, LLC; GGNSC Spring Hill, LLC; GGNSC Wakefield, LLC; GGNSC Wellington,

LLC; and GGNSC Wilson, LLC (collectively “Old Kansas Operators”), respectively. See

Attached Exhibit B, an executed and representative OTA; one (1) of fifteen (15)

transactions.

       199.     On or about December 7, 2016 and in reliance on the financial statements and

representations made by Defendants, nineteen (19) separate Operations Transfer Agreements

(collectively “South Dakota OTAs”) were executed by Plaintiffs Arlington Care and

Rehabilitation Center, LLC; Armour Care and Rehabilitation Center, LLC; Bella Vista Care and

Rehabilitation Center, LLC; Black Hills Care and Rehabilitation Center, LLC; Clark Care and

Rehabilitation Center, LLC; Covington Care and Rehabilitation Center, LLC; Groton Care and

Rehabilitation Center, LLC; Ipswich Care and Rehabilitation Center, LLC; Lake Norden Care

and Rehabilitation Center, LLC; Madison Care and Rehabilitation Center, LLC; Meadowbrook

Care and Rehabilitation Center, LLC; Milbank Care and Rehabilitation Center, LLC; Mobridge

Care and Rehabilitation Center, LLC; Park Place Care and Rehabilitation Center, LLC; Pierre

Care and Rehabilitation Center, LLC; Prairie Hills Care and Rehabilitation Center, LLC;

Redfield Care and Rehabilitation Center, LLC; Salem Care and Rehabilitation Center, LLC; and

Watertown Care And Rehabilitation Center, LLC (collectively “New South Dakota Operators”)

and Defendants GGNSC Arlington, LLC; GGNSC Armour, LLC; GGNSC Clark, LLC; GGNSC

Groton, LLC; GGNSC Ipswich, LLC; GGNSC Lake Norden, LLC; GGNSC Madison South

Dakota, LLC; GGNSC Milbank II, LLC; GGNSC Mobridge, LLC; GGNSC Pierre, LLC;



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GGNSC Rapid City Black Hills, LLC; GGNSC Rapid City Bella Vista, LLC; GGNSC Rapid

City Meadowbrook Manor, LLC; GGNSC Rapid City II, LLC; GGNSC Redfield, LLC; GGNSC

Salem, LLC; GGNSC Sioux Falls, LLC; GGNSC Watertown Operating, LLC (collectively “Old

South Dakota Operators”), respectively. See Attached Exhibit C, an executed and

representative OTA; one (1) of nineteen (19) transactions.

       200.    Also on or about December 7, 2016 and in reliance on the financial statements

and representations made by Defendants, seven (7) separate Operations Transfer Agreements

were executed by Plaintiffs Doylestown Care and Rehabilitation Center, LLC; Lancaster Care

and Rehabilitation Center,, LLC; Lansdale Care and Rehabilitation Center, LLC; Phoenixville

Care and Rehabilitation Center, LLC; Reading Care and Rehabilitation Center, LLC; Rosemont

Care and Rehabilitation Center, LLC; and Stenton Care and Rehabilitation Center, LLC

(collectively “New Pennsylvania Operators”) and Defendants GGNSC Doylestown, LP; GGNSC

Lancaster, LP; GGNSC Lansdale, LP; GGNSC Philadelphia, LP; GGNSC Phoenixville II, LP;

GGNSC Mount Penn, LP; and GGNSC Rosemont, LP (collectively “Old Pennsylvania

Operators”), respectively. See Attached Exhibit D, an executed and representative OTA; one

(1) of seven (7) transactions.

       201.    On or about January 2, 2017 and in reliance on the financial statements and

representations made by Defendants, the Second Amended and Restated Master Lease was

executed by Plaintiffs Broken Bow Care and Rehabilitation Center, LLC; Columbus Care and

Rehabilitation Center, LLC; Cozad Care and Rehabilitation Center, LLC; Franklin Care and

Rehabilitation Center, LLC; Fullerton Care and Rehabilitation Center, LLC; Grand Island

Lakeview Care and Rehabilitation Center, LLC; Grand Island Park Place Care and Rehabilitation



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Center, LLC; Hartington Care and Rehabilitation Center, LLC; Nebraska City Care and

Rehabilitation Center, LLC; Neligh Care and Rehabilitation Center, LLC; Norfolk Care and

Rehabilitation Center, LLC; Omaha Metro Care and Rehabilitation Center, LLC; Sorensen Care

and Rehabilitation Center, LLC; O’Neill Care and Rehabilitation Center, LLC; Plattsmouth Care

and Rehabilitation Center, LLC; Schuyler Care and Rehabilitation Center, LLC; Scottsbluff Care

and Rehabilitation Center, LLC; Sidney Care and Rehabilitation Center, LLC; Tekamah Care

and Rehabilitation Center, LLC; Wausa Care and Rehabilitation Center, LLC; (collectively

“Nebraska Tenants”) Chase County Care and Rehabilitation Center, LLC; Downs Care and

Rehabilitation Center, LLC; Edwardsville Care and Rehabilitation Center, LLC; El Dorado Care

and Rehabilitation Center, LLC; Eskridge Care and Rehabilitation Center, LLC; Kaw River Care

and Rehabilitation Center, LLC; Lansing Care and Rehabilitation Center, LLC; Neodesha Care

and Rehabilitation Center, LLC; Parkway Care and Rehabilitation Center, LLC; Pittsburg Care

and Rehabilitation Center, LLC; Spring Hill Care and Rehabilitation Center, LLC; Wakefield

Care and Rehabilitation Center, LLC; Wellington Care and Rehabilitation Center, LLC; Wichita

Care and Rehabilitation Center, LLC; Wilson Care and Rehabilitation Center, LLC; (collectively

“Kansas Tenants”) Arlington Care and Rehabilitation Center, LLC; Armour Care and

Rehabilitation Center, LLC; Bella Vista Care and Rehabilitation Center, LLC; Black Hills Care

and Rehabilitation Center, LLC; Clark Care and Rehabilitation Center, LLC; Covington Care

and Rehabilitation Center, LLC; Groton Care and Rehabilitation Center, LLC; Ipswich Care and

Rehabilitation Center, LLC; Lake Norden Care and Rehabilitation Center, LLC; Madison Care

and Rehabilitation Center, LLC; Meadowbrook Care and Rehabilitation Center, LLC; Milbank

Care and Rehabilitation Center, LLC; Mobridge Care and Rehabilitation Center, LLC; Park



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Place Care and Rehabilitation Center, LLC; Pierre Care and Rehabilitation Center, LLC; Prairie

Hills Care and Rehabilitation Center, LLC; Redfield Care and Rehabilitation Center, LLC;

Salem Care and Rehabilitation Center, LLC; and Watertown Care And Rehabilitation Center,

LLC (collectively “South Dakota Tenants”) and GPH Broken Bow, LLC; GPH Columbus, LLC;

GPH Cozad, LLC; GPH Franklin III, LLC; GPH Fullerton, LLC; GPH Grand Island Lakeview,

LLC; GPH Grand Island Park Place, LLC; GPH Hartington, LLC; GPH Nebraska City, LLC;

GPH Neligh, LLC; GPH Norfolk Valley View, LLC; GPH Omaha Hallmark, LLC; GPH Omaha

Oak Grove, LLC; GPH O'Neill, LLC; GPH Plattsmouth, LLC; GPH Schuyler, LLC; GPH

Scottsbluff, LLC; GPH Sidney, LLC; GPH Tekamah, LLC; GPH Wausa, LLC (collectively

“Nebraska Landlords”); GPH Cottonwood, LLC; GPH Downs, LLC; GPH Edwardsville II,

LLC; GPH Edwardsville III, LLC; GPH Edwardsville Parkway, LLC; GPH El Dorado II, LLC;

GPH Eskridge, LLC; GPH Lansing, LLC; GPH Lincoln, LLC; GPH Neodesha, LLC; GPH

Pittsburg, LLC; GPH Spring Hill, LLC; GPH Wakefield, LLC; GPH Wellington, LLC; GPH

Wilson, LLC (collectively “Kansas Landlords”); GPH Arlington, LLC; GPH Armour, LLC;

GPH Clark, LLC; GPH Groton, LLC; GPH Ipswich, LLC; GPH Lake Norden, LLC; GPH

Madison South Dakota, LLC; GPH Milbank II, LLC; GPH Mobridge, LLC; GPH Pierre, LLC;

GPH Rapid City Black Hills, LLC; GPH Rapid City Bella Vista, LLC; GPH Rapid City

Meadowbrook Manor, LLC; GPH Rapid City II, LLC; GPH Redfield, LLC; GPH Salem, LLC;

GPH Sioux Falls, LLC; and GPH Watertown Acquisition, LLC (collectively “South Dakota

Landlords”), respectively. See Attached Exhibit E.

       202.   Section 3.1 of the Second Amended and Restated Master Lease provided that:

              Security Deposit. Tenant shall pay to and deposit with Landlord
              upon the execution and delivery of this Lease an amount which,


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              when added to the “Security Deposit” currently held by Landlord
              under the Existing Lease, shall equal to three (3) monthly
              payments of Base Rent as of the Commencement Date (subject to
              replenishment as described in this Section .1) as security (the
              “Security Deposit”) for the full and faithful performance b Tenant
              of each and every term, provision, covenant and condition of this
              Lease.

       203.   In accordance with Section 3.1 of the Second Amended and Restated Master

Lease, Plaintiffs Nebraska Tenants, Kansas Tenants, and South Dakota Tenants deposited a total

of Two Million Three Hundred Seventy-Five Thousand Dollars ($ 2,375,000.00) with

Defendants Nebraska Landlords, Kansas Landlords, and South Dakota Landlords.

       204.   In addition to the required security deposit, Plaintiffs Nebraska Tenants, Kansas

Tenants, and South Dakota Tenants also made a first month’s lease payment in the amount of

approximately Eight Hundred Thousand Dollars ($ 800,000.00).

       205.   On or about February 1, 2017 and in reliance of the financial statements and

representations made by Defendants, the Master Lease was executed by Plaintiffs Doylestown

Care and Rehabilitation Center, LLC; Lancaster Care and Rehabilitation Center,, LLC; Lansdale

Care and Rehabilitation Center, LLC; Phoenixville Care and Rehabilitation Center, LLC;

Reading Care and Rehabilitation Center, LLC; Rosemont Care and Rehabilitation Center, LLC;

and Stenton Care and Rehabilitation Center, LLC (collectively “Pennsylvania Tenants” and

Defendants GPH Doylestown, LP; GPH Lancaster, LP; GPH Lansdale, LP; GPH Philadelphia,

LP; GPH Phoenixville II, LP; GPH Mount Penn, LP; and GPH Rosemont, LP (collectively

“Pennsylvania Landlords”), respectively. See Attached Exhibit F.

       206.   Section 3.1 of the Master Lease provided that:

              Security Deposit. Tenant shall pay to and deposit with Landlord
              upon the execution and delivery of this Lease an amount which,


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               when added to the “Security Deposit” currently held by Landlord
               under the Existing Lease, shall equal to three (3) monthly
               payments of Base Rent as of the Commencement Date (subject to
               replenishment as described in this Section .1) as security (the
               “Security Deposit”) for the full and faithful performance b Tenant
               of each and every term, provision, covenant and condition of this
               Lease.

       207.    In accordance with Section 3.1 of the Master Lease, Plaintiffs Pennsylvania

Tenants deposited One Million Dollars ($ 1,000,000.00) with Defendants Pennsylvania

Landlords.

       208.    In addition to the security deposit, Plaintiffs Pennsylvania Tenants made a first

month’s lease payment in the amount of Three Hundred Thirty-Three Thousand Three Hundred

Thirty-Three Dollars ($ 333,333.00).

       209.    It became immediately apparent after taking control of the operations at each of

the facilities that the financial statements and representations made by Defendants were false and

misleading.

       210.    In fact, within the first year of operating the facilities previously operated by

Defendants Old Nebraska Operators, Old Pennsylvania Operators, Old Kansas Operators, and

Old South Dakota Operators, Plaintiffs incurred losses in excess of Thirty-Nine Million Dollars.

       211.    Upon information and belief, none of Defendants’ representations were accurate.

       212.    Defendants conduct was intentional, wrongful and egregious.

                                      COUNT 1
                     FRAUDULENT MISREPRESENTATION – DOYLESTOWN

       213.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       214.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP, through their agent Houlihan Lokey,


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made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Doylestown

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 423 Maple Street, Doylestown, Pennsylvania.

       215.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Doylestown Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP

was false when it was made.

       216.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       217.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Doylestown Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       218.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Doylestown Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Doylestown, LP and GGNSC Doylestown, LP,

respectively.

       219.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Doylestown Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Doylestown, LP;

and GGNSC Doylestown, LP in an amount exceeding $ 75,000.




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                                             COUNT 2
                        NEGLIGENT MISREPRESENTATION – DOYLESTOWN

        220.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        221.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Doylestown

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 423 Maple Street, Doylestown, Pennsylvania.

        222.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Doylestown Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP

made misrepresentations of material facts, without reasonable care.

        223.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        224.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Doylestown Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        225.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Doylestown Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Doylestown, LP and GGNSC Doylestown, LP,


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respectively.

       226.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Doylestown Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Doylestown, LP; and GGNSC Doylestown, LP’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 3
                       FRAUDULENT MISREPRESENTATION – LANCASTER

      227.      Plaintiffs incorporate by reference paragraphs 1 through 212.

      228.      Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lancaster, LP; and GGNSC Lancaster, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lancaster

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 425 North Duke Street, Lancaster, Pennsylvania.

      229.      The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Lancaster Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Lancaster, LP; and GGNSC Lancaster, LP was

false when it was made.

      230.      Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lancaster, LP and GGNSC Lancaster, LP knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

      231.      The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lancaster Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.


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      232.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lancaster Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Lancaster, LP and GGNSC Lancaster, LP, respectively.

      233.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lancaster Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Lancaster, LP; and

GGNSC Lancaster, LP in an amount exceeding $ 75,000.

                                            COUNT 4
                       NEGLIGENT MISREPRESENTATION – LANCASTER

       234.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       235.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lancaster, LP; and GGNSC Lancaster, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lancaster

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 425 North Duke Street, Lancaster, Pennsylvania.

       236.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Lancaster Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Lancaster, LP; and GGNSC Lancaster, LP made

misrepresentations of material facts, without reasonable care.

       237.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lancaster, LP; and GGNSC Lancaster, LP knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       238.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Lancaster, LP; and GGNSC Lancaster, LP knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Lancaster Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       239.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lancaster Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Lancaster, LP and GGNSC Lancaster, LP, respectively.

       240.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lancaster Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Lancaster, LP; and GGNSC Lancaster, LP’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 5
                       FRAUDULENT MISREPRESENTATION – LANSDALE

       241.    Plaintiffs incorporate by reference paragraphs 1 through 212.

      242.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lansdale, LP; and GGNSC Lansdale, LP, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansdale Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 25 West Fifth Street, Lansdale, Pennsylvania.

      243.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Lansdale Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Lansdale, LP; and GGNSC Lansdale, LP was false

when it was made.

      244.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Lansdale, LP; and GGNSC Lansdale, LP knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

      245.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansdale Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

      246.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansdale Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Lansdale, LP and GGNSC Lansdale, LP, respectively.

       247.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansdale Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Lansdale, LP; and GGNSC

Lansdale, LP in an amount exceeding $ 75,000.

                                       COUNT 6
                        NEGLIGENT MISREPRESENTATION – LANSDALE

       248.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       249.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lansdale, LP; and GGNSC Lansdale, LP, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansdale Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 25 West Fifth Street, Lansdale, Pennsylvania.

       250.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lansdale, LP; and GGNSC Lansdale, LP knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.


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       251.   Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lansdale, LP; and GGNSC Lansdale, LP knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Lansdale Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       252.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansdale Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Lansdale, LP and GGNSC Lansdale, LP, respectively.

       253.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansdale Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,   LLC;    GPH    Lansdale,   LP;   and    GGNSC      Lansdale,   LP’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                      COUNT 7
                     FRAUDULENT MISREPRESENTATION – PHOENIXVILLE

       254.   Plaintiffs incorporate by reference paragraphs 1 through 212.

      255.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II, LP, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Phoenixville Care and Rehabilitation, LLC regarding the recent financial history of the nursing

home facility located at 833 South Main Street, Phoenixville, Pennsylvania.

      256.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Phoenixville Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II,

LP was false when it was made.


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      257.      Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II, LP knew at that time that

the financial statements were false and/or were made recklessly without knowledge of its truth.

      258.      The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Phoenixville Care and Rehabilitation, LLC

would rely upon them in determining whether to lease the facilities.

      259.      Plaintiffs Joseph Schwartz, Rosie Schwartz, and Phoenixville Care and

Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Phoenixville II, LP and GGNSC Phoenixville II, LP,

respectively.

       260.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Phoenixville Care and

Rehabilitation, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas

Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Phoenixville II, LP; and

GGNSC Phoenixville II, LP in an amount exceeding $ 75,000.

                                        COUNT 8
                       NEGLIGENT MISREPRESENTATION – PHOENIXVILLE

       261.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       262.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II, LP, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Phoenixville Care and Rehabilitation, LLC regarding the recent financial history of the nursing

home facility located at 833 South Main Street, Phoenixville, Pennsylvania.

       263.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and


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Phoenixville Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II,

LP made misrepresentations of material facts, without reasonable care.

        264.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II, LP knew that the

financial statements would be used as guidance by others in determining whether to lease the

facilities.

        265.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II, LP knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Phoenixville Care and Rehabilitation, LLC in determining

whether to lease the facilities.

        266.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Phoenixville Care and

Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Phoenixville II, LP and GGNSC Phoenixville II, LP,

respectively.

        267.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Phoenixville Care and

Rehabilitation, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Phoenixville II, LP; and GGNSC Phoenixville II, LP’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                             COUNT 9
                         FRAUDULENT MISREPRESENTATION – READING

        268.    Plaintiffs incorporate by reference paragraphs 1 through 212.


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       269.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Reading

Care and Rehabilitation, LLC regarding the recent financial history of the nursing home facility

located at 21 Fairlane Road, Reading, Pennsylvania.

       270.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Reading Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP was false

when it was made.

       271.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       272.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Reading Care and Rehabilitation, LLC would

rely upon them in determining whether to lease the facilities.

       273.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Reading Care and Rehabilitation,

LLC justifiably relied upon the financials and entered into an OTA and lease agreement with

Defendants GPH Mount Penn, LP and GGNSC Mount Penn, LP, respectively.

       274.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Reading Care and Rehabilitation,

LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn; Ronald

E. Silva; GGNSC Administrative Services, LLC; GPH Mount Penn, LP; and GGNSC Mount

Penn, LP in an amount exceeding $ 75,000.



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                                             COUNT 10
                           NEGLIGENT MISREPRESENTATION – READING

        275.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        276.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Reading

Care and Rehabilitation, LLC regarding the recent financial history of the nursing home facility

located at 21 Fairlane Road, Reading, Pennsylvania.

        277.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Reading Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP made

misrepresentations of material facts, without reasonable care.

        278.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        279.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Reading Care and Rehabilitation, LLC in determining whether to

lease the facilities.

        280.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Reading Care and Rehabilitation,

LLC justifiably relied upon the financials and entered into an OTA and lease agreement with

Defendants GPH Mount Penn, LP; and GGNSC Mount Penn, LP, respectively.


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       281.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Reading Care and Rehabilitation,

LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Mount Penn, LP; and GGNSC Mount Penn, LP’s misrepresentations of

material facts in an amount exceeding $ 75,000.

                                      COUNT 11
                       FRAUDULENT MISREPRESENTATION – ROSEMONT

       282.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       283.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Rosemont

Care and Rehabilitation, LLC regarding the recent financial history of the nursing home facility

located at 35 Rosemont Avenue, Rosemont, Pennsylvania.

       284.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Rosemont Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP was false when

it was made.

       285.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       286.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Rosemont Care and Rehabilitation, LLC would

rely upon them in determining whether to lease the facilities.

       287.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Rosemont Care and


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Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Rosemont, LP; and GGNSC Rosemont, respectively.

       288.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Rosemont Care and

Rehabilitation, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas

Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Rosemont, LP; and GGNSC

Rosemont, LP in an amount exceeding $ 75,000.

                                            COUNT 12
                        NEGLIGENT MISREPRESENTATION – ROSEMONT

       289.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       290.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Rosemont

Care and Rehabilitation, LLC regarding the recent financial history of the nursing home facility

located at 35 Rosemont Avenue, Rosemont, Pennsylvania.

       291.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Rosemont Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP made

misrepresentations of material facts, without reasonable care.

       292.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       293.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP knew that the


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misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Rosemont Care and Rehabilitation, LLC in determining whether

to lease the facilities.

        294.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Rosemont Care and

Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Rosemont, LP and GGNSC Rosemont, respectively.

        295.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Rosemont Care and

Rehabilitation, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Rosemont, LP; and GGNSC Rosemont, LP’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                             COUNT 13
                           FRAUDULENT MISREPRESENTATION – STENTON

        296.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        297.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Stenton

Care and Rehabilitation, LLC regarding the recent financial history of the nursing home facility

located at 7310 Stenton Avenue, Philadelphia, Pennsylvania.

        298.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Stenton Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP was false

when it was made.

        299.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       300.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Stenton Care and Rehabilitation, LLC would

rely upon them in determining whether to lease the facilities.

       301.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Stenton Care and Rehabilitation,

LLC justifiably relied upon the financials and entered into an OTA and lease agreement with

Defendants GPH Philadelphia, LP and GGNSC Philadelphia, LP, respectively.

       302.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Stenton Care and Rehabilitation,

LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn; Ronald

E. Silva; GGNSC Administrative Services, LLC; GPH Philadelphia, LP; and GGNSC

Philadelphia, LP in an amount exceeding $ 75,000.

                                       COUNT 14
                         NEGLIGENT MISREPRESENTATION – STENTON

       303.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       304.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Stenton

Care and Rehabilitation, LLC regarding the recent financial history of the nursing home facility

located at 7310 Stenton Avenue, Philadelphia, Pennsylvania.

       305.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Stenton Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP made


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misrepresentations of material facts, without reasonable care.

        306.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        307.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Stenton Care and Rehabilitation, LLC in determining whether to

lease the facilities.

        308.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Stenton Care and Rehabilitation,

LLC justifiably relied upon the financials and entered into an OTA and lease agreement with

Defendants GPH Philadelphia, LP and GGNSC Philadelphia, LP, respectively.

        309.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Stenton Care and Rehabilitation,

LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Philadelphia, LP; and GGNSC Philadelphia, LP’s misrepresentations of

material facts in an amount exceeding $ 75,000.

                                             COUNT 15
                        FRAUDULENT MISREPRESENTATION – BROKEN BOW

        310.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        311.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Broken Bow, LLC; and GGNSC Broken Bow, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Broken Bow Care and Rehabilitation Center, LLC regarding the recent financial history of the


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nursing home facility located at 224 East South E Street, Broken Bow, Nebraska.

       312.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Broken Bow Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Broken Bow, LLC; and GGNSC Broken

Bow, LLC was false when it was made.

       313.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Broken Bow, LLC; and GGNSC Broken Bow, LLC knew at that time that

the financial statements were false and/or were made recklessly without knowledge of its truth.

       314.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Broken Bow Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       315.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Broken Bow Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Broken Bow, LLC and GGNSC Broken Bow, LLC,

respectively.

       316.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Broken Bow Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Broken Bow,

LLC; and GGNSC Broken Bow, LLC in an amount exceeding $ 75,000.

                                            COUNT 16
                       NEGLIGENT MISREPRESENTATION – BROKEN BOW

       317.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       318.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,


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LLC; GPH Broken Bow, LLC; and GGNSC Broken Bow, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Broken Bow Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 224 East South E Street, Broken Bow, Nebraska.

        319.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Broken Bow, LLC; and GGNSC Broken Bow, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        320.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Broken Bow, LLC; and GGNSC Broken Bow, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Broken Bow Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        321.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Broken Bow Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Broken Bow, LLC and GGNSC Broken Bow, LLC,

respectively.

        322.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Broken Bow Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Broken Bow, LLC; and GGNSC Broken Bow,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 17
                        FRAUDULENT MISREPRESENTATION – COLUMBUS

        323.    Plaintiffs incorporate by reference paragraphs 1 through 212.


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       324.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Columbus, LLC; and GGNSC Columbus, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Columbus

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 2855 40th Avenue, Columbus, Nebraska.

       325.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Columbus Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Columbus, LLC; and GGNSC Columbus, LLC

was false when it was made.

       326.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Columbus, LLC; and GGNSC Columbus, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       327.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Columbus Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       328.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Columbus Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Columbus, LLC; and GGNSC Columbus, LLC,

respectively.

       329.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Columbus Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Columbus, LLC;



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and GGNSC Columbus, LLC in an amount exceeding $ 75,000.

                                        COUNT 18
                         NEGLIGENT MISREPRESENTATION – COLUMBUS

        330.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        331.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Columbus, LLC; and GGNSC Columbus, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Columbus

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 2855 40th Avenue, Columbus, Nebraska.

        332.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Columbus, LLC; and GGNSC Columbus, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        333.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Columbus, LLC; and GGNSC Columbus, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Columbus Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        334.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Columbus Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Columbus, LLC and GGNSC Columbus, LLC,

respectively.

        335.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Columbus Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;


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GGNSC Administrative Services, LLC; GPH Columbus, LLC; and GGNSC Columbus, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 19
                         FRAUDULENT MISREPRESENTATION – COZAD

       336.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       337.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Cozad, LLC; and GGNSC Cozad, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Cozad Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 318 West 18th Street, Cozad, Nebraska.

       338.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Cozad Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Cozad, LLC; and GGNSC Cozad, LLC was false

when it was made.

       339.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Cozad, LLC; and GGNSC Cozad, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       340.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Cozad Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       341.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Cozad Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Cozad, LLC and GGNSC Cozad, LLC, respectively.


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       342.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Cozad Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Cozad, LLC; and GGNSC Cozad,

LLC in an amount exceeding $ 75,000.

                                       COUNT 20
                          NEGLIGENT MISREPRESENTATION – COZAD

       343.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       344.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Cozad, LLC; and GGNSC Cozad, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Cozad Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 318 West 18th Street, Cozad, Nebraska.

       345.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Cozad, LLC; and GGNSC Cozad, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       346.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Cozad, LLC; and GGNSC Cozad, LLC knew that the misrepresentations in

the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Cozad Care and Rehabilitation Center, LLC _ in determining whether to lease the facilities.

       347.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Cozad Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Cozad, LLC and GGNSC Cozad, LLC, respectively.

       348.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Cozad Care and Rehabilitation


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Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,    LLC;   GPH     Cozad,    LLC;    and     GGNSC    Cozad,    LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                      COUNT 21
                       FRAUDULENT MISREPRESENTATION – FRANKLIN

       349.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       350.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Franklin III, LLC; and GGNSC Franklin III, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Franklin Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 1006 M Street, Franklin, Nebraska.

       351.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Franklin Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Franklin III, LLC; and GGNSC Franklin III, LLC

was false when it was made.

       352.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Franklin III, LLC; and GGNSC Franklin III, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       353.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Franklin Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       354.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Franklin Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement


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with Defendants GPH Franklin III, LLC and GGNSC Franklin III, LLC, respectively.

        355.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Franklin Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Franklin III, LLC; and GGNSC

Franklin III, LLC in an amount exceeding $ 75,000.v

                                        COUNT 22
                          NEGLIGENT MISREPRESENTATION – FRANKLIN

        356.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        357.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Franklin III, LLC; and GGNSC Franklin III, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Franklin Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 1006 M Street, Franklin, Nebraska.

        358.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Franklin III, LLC; and GGNSC Franklin III, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        359.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Franklin III, LLC; and GGNSC Franklin III, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Franklin Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        360.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Franklin Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement


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with Defendants GPH Franklin III, LLC and GGNSC Franklin III, LLC, respectively.

       361.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Franklin Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Franklin III, LLC; and GGNSC Franklin III, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                      COUNT 23
                       FRAUDULENT MISREPRESENTATION – FULLERTON

       362.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       363.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Fullerton, LLC and GGNSC Fullerton, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Fullerton

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 202 North Esther, Fullerton, Nebraska.

       364.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Fullerton Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Fullerton, LLC; and GGNSC Fullerton, LLC was

false when it was made.

       365.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Fullerton, LLC; and GGNSC Fullerton, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       366.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Fullerton Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.


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        367.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Fullerton Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Fullerton, LLC and GGNSC Fullerton, LLC, respectively.

        368.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Fullerton Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Fullerton, LLC; and GGNSC

Fullerton, LLC in an amount exceeding $ 75,000.

                                            COUNT 24
                         NEGLIGENT MISREPRESENTATION – FULLERTON

        369.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        370.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Fullerton, LLC; and GGNSC Fullerton, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Fullerton

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 202 North Esther, Fullerton, Nebraska.

        371.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Fullerton, LLC; and GGNSC Fullerton, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        372.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Fullerton, LLC; and GGNSC Fullerton, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Fullerton Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.


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       373.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Fullerton Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Fullerton, LLC and GGNSC Fullerton, LLC, respectively.

       374.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Fullerton Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Fullerton, LLC; and GGNSC Fullerton, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                   COUNT 25
              FRAUDULENT MISREPRESENTATION – GRAND ISLAND LAKEVIEW

       375.   Plaintiffs incorporate by reference paragraphs 1 through 212.

       376.   Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Grand Island Lakeview, LLC; and GGNSC Grand Island Lakeview, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Grand Island Lakeview Care and Rehabilitation Center, LLC regarding the

recent financial history of the nursing home facility located at 1405 West Highway 34, Grand

Island, Nebraska.

       377.   The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Grand Island Lakeview Care and Rehabilitation Center, LLC by Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Grand Island Lakeview, LLC;

and GGNSC Grand Island Lakeview, LLC was false when it was made.

       378.   Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Grand Island Lakeview, LLC; and GGNSC Grand Island Lakeview, LLC

knew at that time that the financial statements were false and/or were made recklessly without


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knowledge of its truth.

       379.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Lakeview Care and Rehabilitation

Center, LLC would rely upon them in determining whether to lease the facilities.

       380.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Lakeview Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Grand Island Lakeview, LLC and GGNSC Grand Island

Lakeview, LLC, respectively.

       381.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Lakeview Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Grand Island

Lakeview, LLC; and GGNSC Grand Island Lakeview, LLC in an amount exceeding $ 75,000.

                                     COUNT 26
                NEGLIGENT MISREPRESENTATION – GRAND ISLAND LAKEVIEW

       382.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       383.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Grand Island Lakeview, LLC; and GGNSC Grand Island Lakeview, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Grand Island Lakeview Care and Rehabilitation Center, LLC regarding the

recent financial history of the nursing home facility located at 1405 West Highway 34, Grand

Island, Nebraska.

       384.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Grand Island Lakeview, LLC; and GGNSC Grand Island Lakeview, LLC


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knew that the financial statements would be used as guidance by others in determining whether

to lease the facilities.

        385.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Grand Island Lakeview, LLC; and GGNSC Grand Island Lakeview, LLC

knew that the misrepresentations in the financial statements would be relied upon by Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Grand Island Lakeview Care and Rehabilitation Center,

LLC in determining whether to lease the facilities.

        386.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Lakeview Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Grand Island Lakeview, LLC and GGNSC Grand Island

Lakeview, LLC, respectively.

        387.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Lakeview Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Grand Island Lakeview, LLC; and GGNSC Grand

Island Lakeview, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                      COUNT 27
                FRAUDULENT MISREPRESENTATION – GRAND ISLAND PARK PLACE

        388.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        389.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Grand Island Park Place, LLC; and GGNSC Grand Island Park Place, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Grand Island Park Place Care and Rehabilitation Center, LLC regarding the

recent financial history of the nursing home facility located at 610 North Darr Avenue, Grand


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Island, Nebraska.

       390.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Grand Island Park Place Care and Rehabilitation Center, LLC by Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Grand Island Park Place, LLC;

and GGNSC Grand Island Park Place, LLC was false when it was made.

       391.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Grand Island Park Place, LLC; and GGNSC Grand Island Park Place, LLC

knew at that time that the financial statements were false and/or were made recklessly without

knowledge of its truth.

       392.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Park Place Care and Rehabilitation

Center, LLC would rely upon them in determining whether to lease the facilities.

       393.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Park Place Care

and Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA

and lease agreement with Defendants GPH Grand Island Park Place, LLC and GGNSC Grand

Island Park Place, LLC, respectively.

       394.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Park Place Care

and Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of

Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Grand

Island Park Place, LLC; and GGNSC Grand Island Park Place, LLC in an amount exceeding $

75,000.




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                                       COUNT 28
                 NEGLIGENT MISREPRESENTATION – GRAND ISLAND PARK PLACE

        395.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        396.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Grand Island Park Place, LLC; and GGNSC Grand Island Park Place, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Grand Island Park Place Care and Rehabilitation Center, LLC regarding the

recent financial history of the nursing home facility located at 610 North Darr Avenue, Grand

Island, Nebraska.

        397.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Grand Island Park Place, LLC; and GGNSC Grand Island Park Place, LLC

knew that the financial statements would be used as guidance by others in determining whether

to lease the facilities.

        398.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Grand Island Park Place, LLC; and GGNSC Grand Island Park Place, LLC

knew that the misrepresentations in the financial statements would be relied upon by Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Grand Island Park Place Care and Rehabilitation Center,

LLC in determining whether to lease the facilities.

        399.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Park Place Care

and Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA

and lease agreement with Defendants GPH Grand Island Park Place, LLC and GGNSC Grand

Island Park Place, LLC, respectively.

        400.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Grand Island Park Place Care


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and Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Grand Island Park Place, LLC; and GGNSC

Grand Island Park Place, LLC’s misrepresentations of material facts in an amount exceeding

$75,000.

                                      COUNT 29
                      FRAUDULENT MISREPRESENTATION – HARTINGTON

       401.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       402.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Hartington, LLC; and GGNSC Hartington, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Hartington Care and Rehabilitation, LLC regarding the recent financial history of the nursing

home facility located at 401 Darlene Street, Harington, Nebraska.

       403.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Hartington Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Hartington, LLC; and GGNSC Hartington, LLC

was false when it was made.

       404.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Hartington, LLC; and GGNSC Hartington, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       405.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Hartington Care and Rehabilitation, LLC would

rely upon them in determining whether to lease the facilities.

       406.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Hartington Care and


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Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Hartington, LLC and GGNSC Hartington, LLC, respectively.

        407.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Hartington Care and

Rehabilitation, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas

Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Hartington, LLC; and

GGNSC Hartington, LLC in an amount exceeding $ 75,000.

                                             COUNT 30
                           NEGLIGENT MISREPRESENTATION – HARTINGTON

        408.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        409.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Hartington, LLC; and GGNSC Hartington, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Hartington Care and Rehabilitation, LLC regarding the recent financial history of the nursing

home facility located at 401 Darlene Street, Harington, Nebraska.

        410.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Hartington, LLC; and GGNSC Hartington, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        411.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Hartington, LLC; and GGNSC Hartington, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Hartington Care and Rehabilitation, LLC in determining whether

to lease the facilities.

        412.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Hartington Care and


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Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Hartington, LLC and GGNSC Hartington, LLC, respectively.

         413.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Hartington Care and

Rehabilitation, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Hartington, LLC; and GGNSC Hartington, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 31
                     FRAUDULENT MISREPRESENTATION – NEBRASKA CITY

         414.   Plaintiffs incorporate by reference paragraphs 1 through 212.

         415.   v Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Nebraska City, LLC; and GGNSC Nebraska City, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Nebraska City Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 1420 North 10th Street, Nebraska City, Nebraska.

         416.   The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Nebraska City Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Nebraska City, LLC; and GGNSC Nebraska

City, LLC was false when it was made.

         417.   Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Nebraska City, LLC; and GGNSC Nebraska City, LLC knew at that time

that the financial statements were false and/or were made recklessly without knowledge of its

truth.

         418.   The financial statements were prepared and distributed with the intention that


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Plaintiffs Joseph Schwartz, Rosie Schwartz, and Nebraska City Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

        419.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Nebraska City Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Nebraska City, LLC and GGNSC Nebraska City, LLC,

respectively.

        420.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Nebraska City Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Nebraska City,

LLC; and GGNSC Nebraska City, LLC in an amount exceeding $ 75,000.

                                            COUNT 32
                      NEGLIGENT MISREPRESENTATION – NEBRASKA CITY

        421.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        422.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Nebraska City, LLC; and GGNSC Nebraska City, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Nebraska City Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 1420 North 10th Street, Nebraska City, Nebraska.

        423.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Nebraska City, LLC; and GGNSC Nebraska City, LLC knew that the

financial statements would be used as guidance by others in determining whether to lease the

facilities.

        424.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Nebraska City, LLC; and GGNSC Nebraska City, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Nebraska City Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

       425.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Nebraska City Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Nebraska City, LLC and GGNSC Nebraska City, LLC,

respectively.

       426.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Nebraska City Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Nebraska City, LLC; and GGNSC Nebraska City,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 33
                         FRAUDULENT MISREPRESENTATION – NELIGH

       427.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       428.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Neligh, LLC; and GGNSC Neligh, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neligh Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1100 North T Street, Neligh, Nebraska.

       429.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Neligh Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Neligh, LLC; and GGNSC Neligh, LLC was false


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when it was made.

       430.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Neligh, LLC; and GGNSC Neligh, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       431.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neligh Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       432.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neligh Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Neligh, LLC and GGNSC Neligh, LLC, respectively.

       433.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neligh Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Neligh, LLC; and GGNSC

Neligh, LLC in an amount exceeding $ 75,000.

                                      COUNT 34
                         NEGLIGENT MISREPRESENTATION – NELIGH

       434.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       435.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Neligh, LLC; and GGNSC Neligh, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neligh Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1100 North T Street, Neligh, Nebraska.

       436.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Neligh, LLC; and GGNSC Neligh, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       437.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Neligh, LLC; and GGNSC Neligh, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Neligh Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       438.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neligh Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Neligh, LLC and GGNSC Neligh, LLC, respectively.

       439.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neligh Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,   LLC;    GPH     Neligh,   LLC;    and    GGNSC      Neligh,   LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 35
                        FRAUDULENT MISREPRESENTATION – NORFOLK

       440.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       441.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Norfolk Valley View, LLC; and GGNSC Norfolk Valley View, LLC, through their

agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Norfolk Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 1900 Vicki Lane, Norfolk, Nebraska.

       442.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Norfolk Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;


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GGNSC Administrative Services, LLC; GPH Norfolk Valley View, LLC; and GGNSC Norfolk

Valley View, LLC was false when it was made.

       443.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Norfolk Valley View, LLC and GGNSC Norfolk Valley View, LLC knew

at that time that the financial statements were false and/or were made recklessly without

knowledge of its truth.

       444.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Norfolk Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       445.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Norfolk Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Norfolk Valley View, LLC and GGNSC Norfolk Valley View, LLC,

respectively.

       446.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Norfolk Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Norfolk Valley View, LLC and

GGNSC Norfolk Valley View, LLC in an amount exceeding $ 75,000.

                                            COUNT 36
                          NEGLIGENT MISREPRESENTATION – NORFOLK

       447.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       448.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Norfolk Valley View, LLC; and GGNSC Norfolk Valley View, LLC, through their

agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie


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Schwartz, and Norfolk Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 1900 Vicki Lane, Norfolk, Nebraska.

        449.      Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Norfolk Valley View, LLC; and GGNSC Norfolk Valley View, LLC knew

that the financial statements would be used as guidance by others in determining whether to lease

the facilities.

        450.      Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Norfolk Valley View, LLC; and GGNSC Norfolk Valley View, LLC knew

that the misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Norfolk Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        451.      Plaintiffs Joseph Schwartz, Rosie Schwartz, and Norfolk Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Norfolk Valley View, LLC and GGNSC Norfolk Valley View, LLC,

respectively.

        452.      Plaintiffs Joseph Schwartz, Rosie Schwartz, and Norfolk Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Norfolk Valley View, LLC; and GGNSC Norfolk Valley

View, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                              COUNT 37
                       FRAUDULENT MISREPRESENTATION – OMAHA METRO

        453.      Plaintiffs incorporate by reference paragraphs 1 through 212.

        454.      Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,


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LLC; GPH Omaha Hallmark, LLC; and GGNSC Omaha Hallmark, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Omaha Metro Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 5505 Grover Street, Omaha, Nebraska.

        455.      The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Omaha Metro Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Omaha Hallmark, LLC; and GGNSC

Omaha Hallmark, LLC was false when it was made.

        456.      Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Omaha Hallmark, LLC; and GGNSC Omaha Hallmark, LLC knew at that

time that the financial statements were false and/or were made recklessly without knowledge of

its truth.

        457.      The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Omaha Metro Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

        458.      Plaintiffs Joseph Schwartz, Rosie Schwartz, and Omaha Metro Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Omaha Hallmark, LLC and GGNSC Omaha Hallmark,

LLC, respectively.

        459.      Plaintiffs Joseph Schwartz, Rosie Schwartz, and Omaha Metro Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Omaha Hallmark,



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LLC; and GGNSC Omaha Hallmark, LLC in an amount exceeding $ 75,000.

                                       COUNT 38
                      NEGLIGENT MISREPRESENTATION – OMAHA METRO

        460.   Plaintiffs incorporate by reference paragraphs 1 through 212.

        461.   Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Omaha Hallmark, LLC; and GGNSC Omaha Hallmark, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Omaha Metro Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 5505 Grover Street, Omaha, Nebraska.

        462.   Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Omaha Hallmark, LLC; and GGNSC Omaha Hallmark, LLC knew that the

financial statements would be used as guidance by others in determining whether to lease the

facilities.

        463.   Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Omaha Hallmark, LLC; and GGNSC Omaha Hallmark, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Omaha Metro Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

        464.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Omaha Metro Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Omaha Hallmark, LLC and GGNSC Omaha Hallmark,

LLC, respectively.

        465.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Omaha Metro Care and


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Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Omaha Hallmark, LLC; and GGNSC Omaha

Hallmark, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 39
                        FRAUDULENT MISREPRESENTATION – SORENSEN

        466.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        467.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Omaha Oak Grove, LLC; and GGNSC Omaha Oak Grove, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Sorensen Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 4809 Redman Avenue, Omaha, Nebraska.

        468.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Sorensen Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Omaha Oak Grove, LLC; and GGNSC Omaha

Oak Grove, LLC was false when it was made.

        469.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Omaha Oak Grove, LLC; and GGNSC Omaha Oak Grove, LLC knew at

that time that the financial statements were false and/or were made recklessly without knowledge

of its truth.

        470.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sorensen Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

        471.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sorensen Care and Rehabilitation


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Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Omaha Oak Grove, LLC and GGNSC Omaha Oak Grove, LLC,

respectively.

        472.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sorensen Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Omaha Oak Grove, LLC; and

GGNSC Omaha Oak Grove, LLC in an amount exceeding $ 75,000.

                                            COUNT 40
                         NEGLIGENT MISREPRESENTATION – SORENSEN

        473.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        474.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Omaha Oak Grove, LLC; and GGNSC Omaha Oak Grove, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Sorensen Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 4809 Redman Avenue, Omaha, Nebraska.

        475.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Omaha Oak Grove, LLC; and GGNSC Omaha Oak Grove, LLC knew that

the financial statements would be used as guidance by others in determining whether to lease the

facilities.

        476.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Omaha Oak Grove, LLC; and GGNSC Omaha Oak Grove, LLC knew that

the misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Sorensen Care and Rehabilitation Center, LLC in determining


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whether to lease the facilities.

        477.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sorensen Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Omaha Oak Grove, LLC and GGNSC Omaha Oak Grove, LLC,

respectively.

        478.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sorensen Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Omaha Oak Grove, LLC; and GGNSC Omaha Oak Grove,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 41
                          FRAUDULENT MISREPRESENTATION – O’NEILL

        479.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        480.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH O’Neill, LLC; and GGNSC O’Neill, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and O’Neill Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1102 North Harrison, O’Neill, Nebraska.

        481.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

O’Neill Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH O’Neill, LLC; and GGNSC O’Neill, LLC was

false when it was made.

        482.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH O’Neill, LLC; and GGNSC O’Neill, LLC knew at that time that the


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financial statements were false and/or were made recklessly without knowledge of its truth.

       483.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and O’Neill Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       484.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and O’Neill Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH O’Neill, LLC and GGNSC O’Neill, LLC, respectively.

       485.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and O’Neill Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH O’Neill, LLC; and GGNSC

O’Neill, LLC in an amount exceeding $ 75,000.

                                       COUNT 42
                         NEGLIGENT MISREPRESENTATION – O’NEILL

       486.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       487.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH O’Neill, LLC; and GGNSC O’Neill, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and O’Neill Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1102 North Harrison, O’Neill, Nebraska.

       488.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH O’Neill, LLC; and GGNSC O’Neill, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       489.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH O’Neill, LLC; and GGNSC O’Neill, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and O’Neill Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       490.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and O’Neill Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH O’Neill, LLC and GGNSC O’Neill, LLC, respectively.

       491.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and O’Neill Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services,      LLC;   GPH O’Neill,      LLC;    and GGNSC         O’Neill,   LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 43
                     FRAUDULENT MISREPRESENTATION – PLATTSMOUTH

       492.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       493.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Plattsmouth, LLC; and GGNSC Plattsmouth, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Plattsmouth Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 602 South 18th Street, Plattsmouth, Nebraska.

       494.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Plattsmouth Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Plattsmouth, LLC; and GGNSC Plattsmouth, LLC

was false when it was made.

       495.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Plattsmouth, LLC; and GGNSC Plattsmouth, LLC knew at that time that

the financial statements were false and/or were made recklessly without knowledge of its truth.

       496.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Plattsmouth Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       497.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Plattsmouth Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Plattsmouth, LLC and GGNSC Plattsmouth, LLC,

respectively.

       498.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Plattsmouth Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Plattsmouth, LLC;

and GGNSC Plattsmouth, LLC in an amount exceeding $ 75,000.

                                       COUNT 44
                       NEGLIGENT MISREPRESENTATION – PLATTSMOUTH

       499.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       500.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Plattsmouth, LLC; and GGNSC Plattsmouth, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Plattsmouth Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 602 South 18th Street, Plattsmouth, Nebraska.

       501.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Plattsmouth, LLC; and GGNSC Plattsmouth, LLC knew that the financial


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statements would be used as guidance by others in determining whether to lease the facilities.

        502.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Plattsmouth, LLC; and GGNSC Plattsmouth, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Plattsmouth Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        503.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Plattsmouth Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Plattsmouth, LLC and GGNSC Plattsmouth, LLC,

respectively.

        504.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Plattsmouth Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Plattsmouth, LLC; and GGNSC Plattsmouth,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                        COUNT 45
                         FRAUDULENT MISREPRESENTATION – SCHUYLER

        505.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        506.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Schuyler, LLC; and GGNSC Schuyler, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Schuyler

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 2023 Colfax Avenue, Schuyler, Nebraska.

        507.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and


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Schuyler Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Schuyler, LLC; and GGNSC Schuyler, LLC was

false when it was made.

       508.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Schuyler, LLC; and GGNSC Schuyler, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       509.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Schuyler Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       510.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Schuyler Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Schuyler, LLC and GGNSC Schuyler, LLC, respectively.

       511.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Schuyler Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Schuyler, LLC; and GGNSC

Schuyler, LLC in an amount exceeding $ 75,000.

                                           COUNT 46
                          NEGLIGENT MISREPRESENTATION – SCHUYLER

       512.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       513.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Schuyler, LLC; and GGNSC Schuyler, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Schuyler

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home


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facility located at 2023 Colfax Avenue, Schuyler, Nebraska.

        514.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Schuyler, LLC; and GGNSC Schuyler, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        515.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Schuyler, LLC; and GGNSC Schuyler, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Schuyler Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        516.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Schuyler Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Schuyler, LLC and GGNSC Schuyler, LLC, respectively.

        517.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Schuyler Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Schuyler, LLC; and GGNSC Schuyler, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 47
                       FRAUDULENT MISREPRESENTATION – SCOTTSBLUFF

        518.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        519.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Scottsbluff Care and Rehabilitation Center, LLC regarding the recent financial history of the


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nursing home facility located at 111 West 6th Street, Scottsbluff, Nebraska.

       520.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Scottsbluff Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC

was false when it was made.

       521.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       522.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Scottsbluff Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       523.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Scottsbluff Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC,

respectively.

       524.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Scottsbluff Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Scottsbluff, LLC;

and GGNSC Scottsbluff, LLC in an amount exceeding $ 75,000.

                                            COUNT 48
                       NEGLIGENT MISREPRESENTATION – SCOTTSBLUFF

       525.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       526.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,


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LLC; GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Scottsbluff Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 111 West 6th Street, Scottsbluff, Nebraska.

        527.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        528.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Scottsbluff Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        529.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Scottsbluff Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC,

respectively.

        530.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Scottsbluff Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Scottsbluff, LLC; and GGNSC Scottsbluff, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 49
                           FRAUDULENT MISREPRESENTATION – SIDNEY

        531.    Plaintiffs incorporate by reference paragraphs 1 through 212.


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       532.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Sidney, LLC; and GGNSC Sidney, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sidney Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1435 Toledo Street, Sidney, Nebraska.

       533.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Sidney Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Sidney, LLC; and GGNSC Sidney, LLC was false

when it was made.

       534.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Sidney, LLC; and GGNSC Sidney, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       535.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sidney Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       536.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sidney Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Sidney, LLC and GGNSC Sidney, LLC, respectively.

       537.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sidney Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Sidney, LLC; and GGNSC

Sidney, LLC in an amount exceeding $ 75,000.



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                                           COUNT 50
                          NEGLIGENT MISREPRESENTATION – SIDNEY

       538.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       539.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Sidney, LLC; and GGNSC Sidney, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sidney Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1435 Toledo Street, Sidney, Nebraska.

       540.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Sidney, LLC; and GGNSC Sidney, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       541.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Sidney, LLC; and GGNSC Sidney, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Sidney Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       542.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sidney Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Sidney, LLC and GGNSC Sidney, LLC, respectively.

       543.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Sidney Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,   LLC;    GPH     Sidney,   LLC;    and    GGNSC      Sidney,   LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.




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                                            COUNT 51
                        FRAUDULENT MISREPRESENTATION – TEKAMAH

       544.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       545.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Tekamah, LLC; and GGNSC Tekamah, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Tekamah

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 823 M Street, Tekamah, Nebraska.

       546.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Tekamah Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Tekamah, LLC; and GGNSC Tekamah, LLC was

false when it was made.

       547.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Tekamah, LLC; and GGNSC Tekamah, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       548.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Tekamah Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       549.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and            Tekamah Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Tekamah, LLC and GGNSC Tekamah, LLC,

respectively.

       550.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and            Tekamah Care and


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Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Tekamah, LLC;

and GGNSC Tekamah, LLC in an amount exceeding $ 75,000.

                                        COUNT 52
                          NEGLIGENT MISREPRESENTATION – TEKAMAH

        551.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        552.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Tekamah, LLC; and GGNSC Tekamah, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Tekamah

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 823 M Street, Tekamah, Nebraska.

        553.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Tekamah, LLC; and GGNSC Tekamah, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        554.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Tekamah, LLC and GGNSC Tekamah, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Tekamah Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        555.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and            Tekamah Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Tekamah, LLC and GGNSC Tekamah, LLC,

respectively.


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       556.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and            Tekamah Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Tekamah, LLC; and GGNSC Tekamah, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 53
                         FRAUDULENT MISREPRESENTATION – WAUSA

       557.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       558.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wausa, LLC; and GGNSC Wausa, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wausa Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 703 South Vivian Street, Wausa, Nebraska.

       559.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Wausa Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Wausa, LLC; and GGNSC Wausa, LLC was false

when it was made.

       560.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wausa, LLC; and GGNSC Wausa, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       561.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wausa Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       562.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wausa Care and Rehabilitation


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Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Wausa, LLC and GGNSC Wausa, LLC, respectively.

       563.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wausa Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Wausa, LLC; and GGNSC

Wausa, LLC in an amount exceeding $ 75,000.

                                           COUNT 54
                          NEGLIGENT MISREPRESENTATION – WAUSA

       564.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       565.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wausa, LLC; and GGNSC Wausa, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wausa Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 703 South Vivian Street, Wausa, Nebraska.

       566.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wausa, LLC; and GGNSC Wausa, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       567.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wausa, LLC; and GGNSC Wausa, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Wausa Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       568.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wausa Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement


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with Defendants GPH Wausa, LLC and GGNSC Wausa, LLC, respectively.

       569.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wausa Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,   LLC;    GPH     Wausa,    LLC;    and   GGNSC      Wausa,    LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                     COUNT 55
                    FRAUDULENT MISREPRESENTATION – CHASE COUNTY

       570.   Plaintiffs incorporate by reference paragraphs 1 through 212.

       571.   Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Cottonwood, LLC; and GGNSC Cottonwood, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Chase County Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 612 Walnut Street, Cottonwood Falls, Kansas.

       572.   The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Chase County Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Cottonwood, LLC; and GGNSC

Cottonwood, LLC was false when it was made.

       573.   Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Cottonwood, LLC; and GGNSC Cottonwood, LLC knew at that time that

the financial statements were false and/or were made recklessly without knowledge of its truth.

       574.   The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Chase County Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.


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       575.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Chase County Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Cottonwood, LLC; and GGNSC Cottonwood, LLC,

respectively.

       576.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Chase County Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Cottonwood,

LLC; and GGNSC Cottonwood, LLC in an amount exceeding $ 75,000.

                                            COUNT 56
                      NEGLIGENT MISREPRESENTATION – CHASE COUNTY

       577.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       578.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Cottonwood, LLC; and GGNSC Cottonwood, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Chase County Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 612 Walnut Street, Cottonwood Falls, Kansas.

       579.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Cottonwood, LLC; and GGNSC Cottonwood, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       580.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Cottonwood, LLC; and GGNSC Cottonwood, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Chase County Care and Rehabilitation Center, LLC in


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determining whether to lease the facilities.

       581.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Chase County Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Cottonwood, LLC and GGNSC Cottonwood, LLC,

respectively.

       582.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Chase County Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Cottonwood, LLC; and GGNSC Cottonwood,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                               COUNT 57
                          FRAUDULENT MISREPRESENTATION – DOWNS

       583.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       584.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Downs, LLC; and GGNSC Downs, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Downs Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1218 Kansas Street, Downs, Kansas.

       585.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Downs Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Downs, LLC; and GGNSC Downs, LLC was false

when it was made.

       586.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Downs, LLC; and GGNSC Downs, LLC knew at that time that the financial


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statements were false and/or were made recklessly without knowledge of its truth.

       587.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Downs Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       588.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Downs Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Downs, LLC and GGNSC Downs, LLC, respectively.

       589.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Downs Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Downs, LLC; and GGNSC

Downs, LLC in an amount exceeding $ 75,000.

                                       COUNT 58
                          NEGLIGENT MISREPRESENTATION – DOWNS

       590.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       591.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Downs, LLC; and GGNSC Downs, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Downs Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1218 Kansas Street, Downs, Kansas.

       592.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Downs, LLC; and GGNSC Downs, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       593.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Downs, LLC and GGNSC Downs, LLC knew that the misrepresentations in

the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Downs Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       594.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Downs Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Downs, LLC and GGNSC Downs, LLC, respectively.

       595.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Downs Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,   LLC;    GPH     Downs,    LLC;    and   GGNSC       Downs,     LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 59
                    FRAUDULENT MISREPRESENTATION – EDWARDSVILLE

       596.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       597.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Edwardsville III, LLC; and GGNSC Edwardsville III, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Edwardsville Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 751 Blake Street, Edwardsville, Kansas.

       598.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Edwardsville Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Edwardsville III, LLC; and GGNSC

Edwardsville III, LLC was false when it was made.

       599.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Edwardsville III, LLC; and GGNSC Edwardsville III, LLC knew at that

time that the financial statements were false and/or were made recklessly without knowledge of

its truth.

        600.      The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Edwardsville Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

        601.      Plaintiffs Joseph Schwartz, Rosie Schwartz, and Edwardsville Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Edwardsville III, LLC and GGNSC Edwardsville III,

LLC, respectively.

        602.      Plaintiffs Joseph Schwartz, Rosie Schwartz, and Edwardsville Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Edwardsville III,

LLC; and GGNSC Edwardsville III, LLC in an amount exceeding $ 75,000.

                                         COUNT 60
                        NEGLIGENT MISREPRESENTATION – EDWARDSVILLE

        603.      Plaintiffs incorporate by reference paragraphs 1 through 212.

        604.      Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Edwardsville III, LLC; and GGNSC Edwardsville III, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Edwardsville Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 751 Blake Street, Edwardsville, Kansas.

        605.      Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Edwardsville III, LLC; and GGNSC Edwardsville III, LLC knew that the

financial statements would be used as guidance by others in determining whether to lease the

facilities.

        606.   Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Edwardsville III, LLC; and GGNSC Edwardsville III, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Edwardsville Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

        607.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Edwardsville Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Edwardsville III, LLC and GGNSC Edwardsville III,

LLC, respectively.

        608.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Edwardsville Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Edwardsville III, LLC; and GGNSC Edwardsville

III, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                               COUNT 61
                       FRAUDULENT MISREPRESENTATION – KAW RIVER

        609.   Plaintiffs incorporate by reference paragraphs 1 through 212.

        610.   Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Edwardsville II, LLC ; and GGNSC Edwardsville II, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Kaw River Care and Rehabilitation Center, LLC regarding the recent financial


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history of the nursing home facility located at 750 Blake Street, Edwardsville, Kansas.

         611.   The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Kaw River Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Edwardsville II, LLC; and GGNSC Edwardsville

II, LLC was false when it was made.

         612.   Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Edwardsville II, LLC; and GGNSC Edwardsville II, LLC knew at that time

that the financial statements were false and/or were made recklessly without knowledge of its

truth.

         613.   The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Kaw River Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

         614.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Kaw River Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Edwardsville II, LLC and GGNSC Edwardsville II, LLC,

respectively.

         615.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Kaw River Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Edwardsville II,

LLC; and GGNSC Edwardsville II, LLC in an amount exceeding $ 75,000.

                                            COUNT 62
                        NEGLIGENT MISREPRESENTATION – KAW RIVER

         616.   Plaintiffs incorporate by reference paragraphs 1 through 212.


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        617.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Edwardsville II, LLC; and GGNSC Edwardsville II, LLC, through their agent

Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie

Schwartz, and Kaw River Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 750 Blake Street, Edwardsville, Kansas.

        618.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Edwardsville II, LLC; and GGNSC Edwardsville II, LLC knew that the

financial statements would be used as guidance by others in determining whether to lease the

facilities.

        619.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Edwardsville II, LLC; and GGNSC Edwardsville II, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Kaw River Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        620.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Kaw River Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Edwardsville II, LLC and GGNSC Edwardsville II, LLC,

respectively.

        621.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Kaw River Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Edwardsville II, LLC; and GGNSC Edwardsville

II, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.



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                                            COUNT 63
                       FRAUDULENT MISREPRESENTATION – EL DORADO

       622.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       623.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH El Dorado II, LLC; and GGNSC El Dorado II, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and El

Dorado Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing

home facility located at 900 Country Club Lane, El Dorado, Kansas.

       624.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

El Dorado Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH El Dorado II, LLC; and GGNSC El Dorado II,

LLC was false when it was made.

       625.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH El Dorado II, LLC; and GGNSC El Dorado II, LLC knew at that time that

the financial statements were false and/or were made recklessly without knowledge of its truth.

       626.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and El Dorado Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       627.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and El Dorado Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH El Dorado II, LLC and GGNSC El Dorado II, LLC,

respectively.

       628.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and El Dorado Care and


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Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH El Dorado II,

LLC; and GGNSC El Dorado II, LLC in an amount exceeding $ 75,000.

                                        COUNT 64
                         NEGLIGENT MISREPRESENTATION – EL DORADO

        629.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        630.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH El Dorado II, LLC; and GGNSC El Dorado II, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and El

Dorado Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing

home facility located at 900 Country Club Lane, El Dorado, Kansas.

        631.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH El Dorado II, LLC; and GGNSC El Dorado II, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        632.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH El Dorado II, LLC; and GGNSC El Dorado II, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and El Dorado Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        633.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and El Dorado Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH El Dorado II, LLC and GGNSC El Dorado II, LLC,

respectively.


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       634.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and El Dorado Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH El Dorado II, LLC; and GGNSC El Dorado II,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                        COUNT 65
                          FRAUDULENT MISREPRESENTATION – ESKIDGE

       635.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       636.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Eskridge, LLC; and GGNSC Eskridge, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Eskridge

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 505 North Main Street, Eskridge, Kansas.

       637.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Eskridge Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Eskridge, LLC; and GGNSC Eskridge, LLC was

false when it was made.

       638.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Eskridge, LLC; and GGNSC Eskridge, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       639.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Eskridge Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       640.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Eskridge Care and Rehabilitation


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Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Eskridge, LLC and GGNSC Eskridge, LLC, respectively.

        641.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Eskridge Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Eskridge, LLC; and GGNSC

Eskridge, LLC in an amount exceeding $ 75,000.

                                            COUNT 66
                          NEGLIGENT MISREPRESENTATION – ESKRIDGE

        642.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        643.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Eskridge, LLC and GGNSC Eskridge, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Eskridge

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 505 North Main Street, Eskridge, Kansas.

        644.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Eskridge, LLC; and GGNSC Eskridge, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        645.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Eskridge, LLC; and GGNSC Eskridge, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Eskridge Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        646.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Eskridge Care and Rehabilitation


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Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Eskridge, LLC and GGNSC Eskridge, LLC, respectively.

       647.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Eskridge Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Eskridge, LLC; and GGNSC Eskridge, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 67
                          FRAUDULENT MISREPRESENTATION – LANSING

       648.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       649.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lansing, LLC; and GGNSC Lansing, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansing

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 210 Plaza Lane, Lansing, Kansas.

       650.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Lansing Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Lansing, LLC; and GGNSC Lansing, LLC was

false when it was made.

       651.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lansing, LLC; and GGNSC Lansing, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       652.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansing Care and Rehabilitation Center, LLC


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would rely upon them in determining whether to lease the facilities.

       653.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansing Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Lansing, LLC and GGNSC Lansing, LLC, respectively.

       654.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansing Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Lansing, LLC; and GGNSC

Lansing, LLC in an amount exceeding $ 75,000.

                                           COUNT 68
                         NEGLIGENT MISREPRESENTATION – LANSING

       655.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       656.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lansing, LLC; and GGNSC Lansing, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansing

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 210 Plaza Lane, Lansing, Kansas.

       657.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lansing, LLC; and GGNSC Lansing, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       658.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lansing, LLC; and GGNSC Lansing, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Lansing Care and Rehabilitation Center, LLC in determining


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whether to lease the facilities.

        659.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansing Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Lansing, LLC and GGNSC Lansing, LLC, respectively.

        660.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lansing Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Lansing, LLC; and GGNSC Lansing, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 69
                         FRAUDULENT MISREPRESENTATION – PARKWAY

        661.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        662.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Edwardsville Parkway, LLC; and GGNSC Edwardsville Parkway, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Parkway Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 749 Blake Street, Edwardsville, Kansas.

        663.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Parkway Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Edwardsville Parkway, LLC; and GGNSC

Edwardsville Parkway, LLC was false when it was made.

        664.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Edwardsville Parkway, LLC; and GGNSC Edwardsville Parkway, LLC

knew at that time that the financial statements were false and/or were made recklessly without


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knowledge of its truth.

       665.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Parkway Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       666.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Parkway Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Edwardsville Parkway, LLC and GGNSC Edwardsville Parkway, LLC,

respectively.

       667.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Parkway Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Edwardsville Parkway, LLC; and

GGNSC Edwardsville Parkway, LLC in an amount exceeding $ 75,000.

                                        COUNT 70
                          NEGLIGENT MISREPRESENTATION – PARKWAY

       668.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       669.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Edwardsville Parkway, LLC; and GGNSC Edwardsville Parkway, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Parkway Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 749 Blake Street, Edwardsville, Kansas.

       670.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Edwardsville Parkway, LLC and GGNSC Edwardsville Parkway, LLC

knew that the financial statements would be used as guidance by others in determining whether


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to lease the facilities.

        671.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Edwardsville Parkway, LLC; and GGNSC Edwardsville Parkway, LLC

knew that the misrepresentations in the financial statements would be relied upon by Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Parkway Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

        672.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Parkway Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Edwardsville Parkway, LLC and GGNSC Edwardsville Parkway, LLC,

respectively.

        673.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Parkway Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Edwardsville Parkway, LLC; and GGNSC Edwardsville

Parkway, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                          COUNT 71
                           FRAUDULENT MISREPRESENTATION – NEODESHA

        674.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        675.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Neodesha, LLC; and GGNSC Neodesha, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neodesha

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 1626 North Eighth Street, Neodesha, Kansas.

        676.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and


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Neodesha Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Neodesha, LLC; and GGNSC Neodesha, LLC was

false when it was made.

       677.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Neodesha, LLC and GGNSC Neodesha, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       678.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neodesha Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       679.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neodesha Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Neodesha, LLC and GGNSC Neodesha, LLC,

respectively.

       680.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neodesha Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Neodesha, LLC;

and GGNSC Neodesha, LLC in an amount exceeding $ 75,000.

                                            COUNT 72
                          NEGLIGENT MISREPRESENTATION – NEODESHA

       681.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       682.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Neodesha, LLC; and GGNSC Neodesha, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neodesha


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Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 1626 North Eighth Street, Neodesha, Kansas.

        683.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Neodesha, LLC; and GGNSC Neodesha, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        684.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Neodesha, LLC; and GGNSC Neodesha, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Neodesha Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        685.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neodesha Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Neodesha, LLC and GGNSC Neodesha, LLC,

respectively.

        686.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Neodesha Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Neodesha, LLC; and GGNSC Neodesha, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 73
                        FRAUDULENT MISREPRESENTATION – PITTSBURG

        687.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        688.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Pittsburg, LLC; and GGNSC Pittsburg, LLC, through their agent Houlihan Lokey,


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made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pittsburg

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 1005 East Centennial Drive, Pittsburg, Kansas.

       689.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Pittsburg Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Pittsburg, LLC; and GGNSC Pittsburg, LLC was

false when it was made.

       690.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Pittsburg, LLC; and GGNSC Pittsburg, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       691.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pittsburg Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       692.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pittsburg Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Pittsburg, LLC and GGNSC Pittsburg, LLC, respectively.

       693.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pittsburg Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Pittsburg, LLC; and GGNSC

Pittsburg, LLC in an amount exceeding $ 75,000.

                                            COUNT 74
                          NEGLIGENT MISREPRESENTATION – PITTSBURG

       694.    Plaintiffs incorporate by reference paragraphs 1 through 212.


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        695.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Pittsburg, LLC; and GGNSC Pittsburg, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pittsburg

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 1005 East Centennial Drive, Pittsburg, Kansas.

        696.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Pittsburg, LLC; and GGNSC Pittsburg, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        697.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Pittsburg, LLC; and GGNSC Pittsburg, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Pittsburg Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        698.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pittsburg Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Pittsburg, LLC and GGNSC Pittsburg, LLC, respectively.

        699.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pittsburg Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Pittsburg, LLC; and GGNSC Pittsburg, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 75
                       FRAUDULENT MISREPRESENTATION – SPRING HILL

        700.    Plaintiffs incorporate by reference paragraphs 1 through 212.


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       701.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Spring Hill, LLC; and GGNSC Spring Hill, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Spring Hill Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 251 East Wilson Avenue, Spring Hill, Kansas.

       702.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Spring Hill Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Spring Hill, LLC; and GGNSC Spring Hill, LLC

was false when it was made.

       703.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Spring Hill, LLC; and GGNSC Spring Hill, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       704.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Spring Hill Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       705.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Spring Hill Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Spring Hill, LLC and GGNSC Spring Hill, LLC,

respectively.

       706.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Spring Hill Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Spring Hill, LLC;



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and GGNSC Spring Hill, LLC in an amount exceeding $ 75,000.

                                        COUNT 76
                        NEGLIGENT MISREPRESENTATION – SPRING HILL

        707.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        708.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Spring Hill, LLC; and GGNSC Spring Hill, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Spring Hill Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 251 East Wilson Avenue, Spring Hill, Kansas.

        709.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Spring Hill, LLC; and GGNSC Spring Hill, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        710.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Spring Hill, LLC; and GGNSC Spring Hill, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Spring Hill Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        711.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Spring Hill Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Spring Hill, LLC and GGNSC Spring Hill, LLC,

respectively.

        712.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Spring Hill Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;


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GGNSC Administrative Services, LLC; GPH Spring Hill, LLC; and GGNSC Spring Hill, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                      COUNT 77
                      FRAUDULENT MISREPRESENTATION – WAKEFIELD

       713.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       714.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wakefield, LLC; and GGNSC Wakefield, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wakefield

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 509 Grove Street, Wakefield, Kansas.

       715.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Wakefield Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Wakefield, LLC; and GGNSC Wakefield, LLC

was false when it was made.

       716.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wakefield, LLC; and GGNSC Wakefield, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       717.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wakefield Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       718.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wakefield Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Wakefield, LLC and GGNSC Wakefield, LLC,


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respectively.

        719.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wakefield Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Wakefield, LLC;

and GGNSC Wakefield, LLC in an amount exceeding $ 75,000.

                                        COUNT 78
                         NEGLIGENT MISREPRESENTATION – WAKEFIELD

        720.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        721.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wakefield, LLC; and GGNSC Wakefield, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wakefield

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 509 Grove Street, Wakefield, Kansas.

        722.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wakefield, LLC; and GGNSC Wakefield, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        723.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wakefield, LLC; and GGNSC Wakefield, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Wakefield Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        724.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wakefield Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and


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lease agreement with Defendants GPH Wakefield, LLC and GGNSC Wakefield, LLC,

respectively.

       725.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wakefield Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Wakefield, LLC; and GGNSC Wakefield, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 79
                      FRAUDULENT MISREPRESENTATION – WELLINGTON

       726.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       727.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wellington, LLC; and GGNSC Wellington, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Wellington Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 102 West Botkin Street, Wellington, Kansas.

       728.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Wellington Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Wellington, LLC; and GGNSC Wellington, LLC

was false when it was made.

       729.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wellington, LLC and GGNSC Wellington, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       730.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wellington Care and Rehabilitation Center,


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LLC would rely upon them in determining whether to lease the facilities.

       731.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wellington Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Wellington, LLC and GGNSC Wellington, LLC,

respectively.

       732.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wellington Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Wellington, LLC;

and GGNSC Wellington, LLC in an amount exceeding $ 75,000.

                                            COUNT 80
                       NEGLIGENT MISREPRESENTATION – WELLINGTON

       733.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       734.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wellington, LLC; and GGNSC Wellington, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Wellington Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 102 West Botkin Street, Wellington, Kansas.

       735.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wellington, LLC; and GGNSC Wellington, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       736.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wellington, LLC; and GGNSC Wellington, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph


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Schwartz, Rosie Schwartz, and Wellington Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        737.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wellington Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Wellington, LLC and GGNSC Wellington, LLC,

respectively.

        738.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wellington Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Wellington, LLC; and GGNSC Wellington, LLC

_’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 81
                          FRAUDULENT MISREPRESENTATION – WICHITA

        739.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        740.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lincoln, LLC; and GGNSC Lincoln, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wichita

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 4007 East Lincoln Street, Wichita, Kansas.

        741.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Wichita Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Lincoln, LLC; and GGNSC Lincoln, LLC was

false when it was made.

        742.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Lincoln, LLC; and GGNSC Lincoln, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       743.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wichita Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       744.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wichita Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Lincoln, LLC and GGNSC Lincoln, LLC, respectively.

       745.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wichita Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Lincoln, LLC; and GGNSC

Lincoln, LLC in an amount exceeding $ 75,000.

                                       COUNT 82
                         NEGLIGENT MISREPRESENTATION – WICHITA

       746.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       747.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lincoln, LLC; and GGNSC Lincoln, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wichita

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 4007 East Lincoln Street, Wichita, Kansas.

       748.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lincoln, LLC; and GGNSC Lincoln, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.


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       749.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lincoln, LLC; and GGNSC Lincoln, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Wichita Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       750.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wichita Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Lincoln, LLC and GGNSC Lincoln, LLC, respectively.

       751.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wichita Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services,     LLC; GPH Lincoln, LLC; and GGNSC Lincoln, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 83
                         FRAUDULENT MISREPRESENTATION – WILSON

       752.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       753.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wilson, LLC; and GGNSC Wilson, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wilson Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 611 31st Street, Wilson, Kansas.

       754.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Wilson Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Wilson, LLC; and GGNSC Wilson, LLC was false

when it was made.


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       755.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wilson, LLC; and GGNSC Wilson, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       756.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wilson Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       757.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wilson Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Wilson, LLC and GGNSC Wilson, LLC, respectively.

       758.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wilson Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Wilson, LLC; and GGNSC

Wilson, LLC in an amount exceeding $ 75,000.

                                       COUNT 84
                         NEGLIGENT MISREPRESENTATION – WILSON

       759.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       760.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Wilson, LLC; and GGNSC Wilson, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wilson Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 611 31st Street, Wilson, Kansas.

       761.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wilson, LLC; and GGNSC Wilson, LLC knew that the financial statements


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would be used as guidance by others in determining whether to lease the facilities.

       762.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Wilson, LLC; and GGNSC Wilson, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Wilson Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       763.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wilson Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Wilson, LLC and GGNSC Wilson, LLC, respectively.

       764.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Wilson Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,   LLC;    GPH     Wilson,   LLC;    and    GGNSC      Wilson,   LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                     COUNT 85
                      FRAUDULENT MISREPRESENTATION – ARLINGTON

       765.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       766.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Arlington, LLC; and GGNSC Arlington, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Arlington

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 120 Care Center Road, Arlington, South Dakota.

       767.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Arlington Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Arlington, LLC; and GGNSC Arlington, LLC was


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false when it was made.

       768.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Arlington, LLC; and GGNSC Arlington, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       769.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Arlington Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       770.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Arlington Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Arlington, LLC and GGNSC Arlington, LLC,

respectively.

       771.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Arlington Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Arlington, LLC;

and GGNSC Arlington, LLC in an amount exceeding $ 75,000.

                                       COUNT 86
                        NEGLIGENT MISREPRESENTATION – ARLINGTON

       772.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       773.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Arlington, LLC; and GGNSC Arlington, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Arlington

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 120 Care Center Road, Arlington, South Dakota.


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        774.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Arlington, LLC; and GGNSC Arlington, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        775.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Arlington, LLC; and GGNSC Arlington, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Arlington Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        776.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Arlington Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Arlington, LLC and GGNSC Arlington, LLC,

respectively.

        777.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Arlington Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Arlington, LLC; and GGNSC Arlington, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                            COUNT 87
                          FRAUDULENT MISREPRESENTATION – ARMOUR

        778.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        779.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Armour, LLC; and GGNSC Armour, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Armour

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home


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facility located at 106 Braddock Street, Armour, South Dakota.

       780.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Armour Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Armour, LLC; and GGNSC Armour, LLC was

false when it was made.

       781.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Armour, LLC; and GGNSC Armour, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       782.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Armour Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       783.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Armour Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Armour, LLC and GGNSC Armour, LLC, respectively.

       784.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Armour Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Armour, LLC; and GGNSC

Armour, LLC in an amount exceeding $ 75,000.

                                           COUNT 88
                          NEGLIGENT MISREPRESENTATION – ARMOUR

       785.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       786.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Armour, LLC; and GGNSC Armour, LLC, through their agent Houlihan Lokey,


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made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Armour

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 106 Braddock Street, Armour, South Dakota.

       787.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Armour, LLC; and GGNSC Armour, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       788.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Armour, LLC; and GGNSC Armour, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Armour Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       789.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Armour Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Armour, LLC and GGNSC Armour, LLC, respectively.

       790.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Armour Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Armour, LLC; and GGNSC Armour, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 89
                      FRAUDULENT MISREPRESENTATION – BELLA VISTA

       791.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       792.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City Bella Vista, LLC; and GGNSC Rapid City Bella Vista, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,


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Rosie Schwartz, and Bella Vista Care and Rehabilitation, LLC regarding the recent financial

history of the nursing home facility located at 302 St. Cloud Avenue, Rapid City, South Dakota.

       793.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Bella Vista Care and Rehabilitation, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Rapid City Bella Vista, LLC; and GGNSC Rapid

City Bella Vista, LLC was false when it was made.

       794.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Bella Vista, LLC; and GGNSC Rapid City Bella Vista, LLC

knew at that time that the financial statements were false and/or were made recklessly without

knowledge of its truth.

       795.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Bella Vista Care and Rehabilitation, LLC would

rely upon them in determining whether to lease the facilities.

       796.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Bella Vista Care and

Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Rapid City Bella Vista, LLC and GGNSC Rapid City Bella

Vista, LLC, respectively.

       797.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Bella Vista Care and

Rehabilitation, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas

Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Rapid City Bella Vista,

LLC; and GGNSC Rapid City Bella Vista, LLC in an amount exceeding $ 75,000.




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                                             COUNT 90
                           NEGLIGENT MISREPRESENTATION – BELLA VISTA

        798.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        799.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City Bella Vista, LLC; and GGNSC Rapid City Bella Vista, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Bella Vista Care and Rehabilitation, LLC regarding the recent financial

history of the nursing home facility located at 302 St. Cloud Avenue, Rapid City, South Dakota.

        800.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Bella Vista, LLC; and GGNSC Rapid City Bella Vista, LLC

knew that the financial statements would be used as guidance by others in determining whether

to lease the facilities.

        801.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Bella Vista, LLC; and GGNSC Rapid City Bella Vista, LLC

knew that the misrepresentations in the financial statements would be relied upon by Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Bella Vista Care and Rehabilitation, LLC in determining

whether to lease the facilities.

        802.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Bella Vista Care and

Rehabilitation, LLC justifiably relied upon the financials and entered into an OTA and lease

agreement with Defendants GPH Rapid City Bella Vista, LLC and GGNSC Rapid City Bella

Vista, LLC, respectively.

        803.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Bella Vista Care and

Rehabilitation, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC


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Administrative Services, LLC; GPH Rapid City Bella Vista, LLC; and GGNSC Rapid City Bella

Vista, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                      COUNT 91
                      FRAUDULENT MISREPRESENTATION – BLACK HILLS

       804.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       805.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City Black Hills, LLC; and GGNSC Rapid City Black Hills, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Black Hills Care and Rehabilitation Center, LLC regarding the recent

financial history of the nursing home facility located at 1620 North 7th Street, Rapid City, South

Dakota.

       806.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Black Hills Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Rapid City Black Hills, LLC; and GGNSC Rapid

City Black Hills, LLC was false when it was made.

       807.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Black Hills, LLC; and GGNSC Rapid City Black Hills, LLC

knew at that time that the financial statements were false and/or were made recklessly without

knowledge of its truth.

       808.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Black Hills Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       809.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Black Hills Care and


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Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Rapid City Black Hills, LLC and GGNSC Rapid City

Black Hills, LLC, respectively.

        810.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Black Hills Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Rapid City Black

Hills, LLC; and GGNSC Rapid City Black Hills, LLC in an amount exceeding $ 75,000.

                                             COUNT 92
                           NEGLIGENT MISREPRESENTATION – BLACK HILLS

        811.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        812.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City Black Hills, LLC; and GGNSC Rapid City Black Hills, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Black Hills Care and Rehabilitation Center, LLC regarding the recent

financial history of the nursing home facility located at 1620 North 7th Street, Rapid City, South

Dakota.

        813.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Black Hills, LLC; and GGNSC Rapid City Black Hills, LLC

knew that the financial statements would be used as guidance by others in determining whether

to lease the facilities.

        814.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Black Hills, LLC; and GGNSC Rapid City Black Hills, LLC

knew that the misrepresentations in the financial statements would be relied upon by Plaintiffs


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Joseph Schwartz, Rosie Schwartz, and Black Hills Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

       815.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Black Hills Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Rapid City Black Hills, LLC; and GGNSC Rapid City

Black Hills, LLC, respectively.

       816.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Black Hills Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Rapid City Black Hills, LLC; and GGNSC Rapid

City Black Hills, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                               COUNT 93
                          FRAUDULENT MISREPRESENTATION – CLARK

       817.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       818.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Clark, LLC; and GGNSC Clark, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Clark Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 201 8th Street, NW, Clark, South Dakota.

       819.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Clark Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Clark, LLC; and GGNSC Clark, LLC was false

when it was made.

       820.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Clark, LLC; and GGNSC Clark, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       821.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Clark Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       822.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Clark Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Clark, LLC and GGNSC Clark, LLC, respectively.

       823.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Clark Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Clark, LLC; and GGNSC Clark,

LLC in an amount exceeding $ 75,000.

                                       COUNT 94
                          NEGLIGENT MISREPRESENTATION – CLARK

       824.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       825.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Clark, LLC; and GGNSC Clark, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Clark Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 201 8th Street, NW, Clark, South Dakota.

       826.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Clark, LLC; and GGNSC Clark, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.


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       827.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Clark, LLC; and GGNSC Clark, LLC knew that the misrepresentations in

the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Clark Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       828.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Clark Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Clark, LLC and GGNSC Clark, LLC, respectively.

       829.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Clark Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Clark, LLC; and GGNSC Clark, LLC’s misrepresentations

of material facts in an amount exceeding $ 75,000.

                                     COUNT 95
                      FRAUDULENT MISREPRESENTATION – COVINGTON

       830.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       831.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Sioux Falls, LLC; and GGNSC Sioux Falls, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Covington Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 3900 South Cathy Avenue, Sioux Falls, South Dakota.

       832.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Covington Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Sioux Falls, LLC; and GGNSC Sioux Falls, LLC

was false when it was made.


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       833.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Sioux Falls, LLC; and GGNSC Sioux Falls, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       834.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Covington Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       835.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Covington Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Sioux Falls, LLC and GGNSC Sioux Falls, LLC,

respectively.

       836.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Covington Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Sioux Falls, LLC;

and GGNSC Sioux Falls, LLC in an amount exceeding $ 75,000.

                                       COUNT 96
                        NEGLIGENT MISREPRESENTATION – COVINGTON

       837.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       838.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Sioux Falls, LLC; and GGNSC Sioux Falls, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Covington Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 3900 South Cathy Avenue, Sioux Falls, South Dakota.

       839.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative


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Services, LLC; GPH Sioux Falls, LLC; and GGNSC Sioux Falls, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        840.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Sioux Falls, LLC; and GGNSC Sioux Falls, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Covington Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        841.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Covington Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Sioux Falls, LLC and GGNSC Sioux Falls, LLC,

respectively.

        842.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Covington Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Sioux Falls, LLC; and GGNSC Sioux Falls, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                        COUNT 97
                          FRAUDULENT MISREPRESENTATION – GROTON

        843.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        844.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Groton, LLC; and GGNSC Groton, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Groton Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1106 North 2nd Street, Groton, South Dakota.


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       845.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Groton Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Groton, LLC; and GGNSC Groton, LLC was false

when it was made.

       846.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Groton, LLC; and GGNSC Groton, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       847.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Groton Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       848.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Groton Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Groton, LLC and GGNSC Groton, LLC, respectively.

       849.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Groton Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Groton, LLC; and GGNSC

Groton, LLC in an amount exceeding $ 75,000.

                                           COUNT 98
                         NEGLIGENT MISREPRESENTATION – GROTON

       850.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       851.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Groton, LLC; and GGNSC Groton, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Groton Care and


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Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 1106 North 2nd Street, Groton, South Dakota.

       852.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Groton, LLC; and GGNSC Groton, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       853.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Groton, LLC; and GGNSC Groton, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Groton Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       854.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Groton Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Groton, LLC and GGNSC Groton, LLC, respectively.

       855.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Groton Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative   Services,   LLC;    GPH     Groton,   LLC;    and    GGNSC      Groton,   LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 99
                        FRAUDULENT MISREPRESENTATION – IPSWICH

       856.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       857.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Ipswich, LLC; and GGNSC Ipswich, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Ipswich

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home


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facility located at 617 Bloemendaal Drive, Ipswich, South Dakota.

       858.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Ipswich Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Ipswich, LLC; and GGNSC Ipswich, LLC was

false when it was made.

       859.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Ipswich, LLC; and GGNSC Ipswich, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       860.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Ipswich Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       861.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Ipswich Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Ipswich, LLC and GGNSC Ipswich, LLC, respectively.

       862.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Ipswich Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Ipswich, LLC; and GGNSC

Ipswich, LLC in an amount exceeding $ 75,000.

                                           COUNT 100
                          NEGLIGENT MISREPRESENTATION – IPSWICH

       863.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       864.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Ipswich, LLC; and GGNSC Ipswich, LLC, through their agent Houlihan Lokey,


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made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Ipswich

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 617 Bloemendaal Drive, Ipswich, South Dakota.

       865.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Ipswich, LLC; and GGNSC Ipswich, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

       866.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Ipswich, LLC; and GGNSC Ipswich, LLC knew that the misrepresentations

in the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz,

and Ipswich Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       867.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Ipswich Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Ipswich, LLC and GGNSC Ipswich, LLC, respectively.

       868.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Ipswich Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Ipswich, LLC; and GGNSC Ipswich, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 101
                     FRAUDULENT MISREPRESENTATION –LAKE NORDEN

       869.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       870.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lake Norden, LLC; and GGNSC Lake Norden, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and


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Lake Norden Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 803 Park Street, Lake Norden, South Dakota.

       871.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Lake Norden Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Lake Norden, LLC; and GGNSC Lake

Norden, LLC was false when it was made.

       872.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lake Norden, LLC; and GGNSC Lake Norden, LLC knew at that time that

the financial statements were false and/or were made recklessly without knowledge of its truth.

       873.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lake Norden Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       874.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lake Norden Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Lake Norden, LLC and GGNSC Lake Norden, LLC,

respectively.

       875.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lake Norden Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Lake Norden,

LLC; and GGNSC Lake Norden, LLC in an amount exceeding $ 75,000.

                                           COUNT 102
                       NEGLIGENT MISREPRESENTATION – LAKE NORDEN

       876.     Plaintiffs incorporate by reference paragraphs 1 through 212.


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        877.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Lake Norden, LLC; and GGNSC Lake Norden, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Lake Norden Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 803 Park Street, Lake Norden, South Dakota.

        878.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lake Norden, LLC; and GGNSC Lake Norden, LLC knew that the

financial statements would be used as guidance by others in determining whether to lease the

facilities.

        879.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Lake Norden, LLC; and GGNSC Lake Norden, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Lake Norden Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

        880.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lake Norden Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Lake Norden, LLC and GGNSC Lake Norden, LLC,

respectively.

        881.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Lake Norden Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Lake Norden, LLC; and GGNSC Lake Norden,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.



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                                           COUNT 103
                          FRAUDULENT MISREPRESENTATION – MADISON

       882.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       883.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Madison South Dakota, LLC; and GGNSC Madison South Dakota, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Madison Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 718 NE 8th Street, Madison, South Dakota.

       884.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Madison Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Madison South Dakota, LLC; and GGNSC

Madison South Dakota, LLC was false when it was made.

       885.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Madison South Dakota, LLC; and GGNSC Madison South Dakota, LLC

knew at that time that the financial statements were false and/or were made recklessly without

knowledge of its truth.

       886.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Madison Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       887.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Madison Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Madison South Dakota, LLC and GGNSC Madison South Dakota, LLC,

respectively.


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        888.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Madison Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Madison South Dakota, LLC; and

GGNSC Madison South Dakota, LLC in an amount exceeding $ 75,000.

                                         COUNT 104
                           NEGLIGENT MISREPRESENTATION – MADISON

        889.     Plaintiffs incorporate by reference paragraphs 1 through 212.

        890.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Madison South Dakota, LLC; and GGNSC Madison South Dakota, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Madison Care and Rehabilitation Center, LLC regarding the recent financial

history of the nursing home facility located at 718 NE 8th Street, Madison, South Dakota.

        891.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Madison South Dakota, LLC; and GGNSC Madison South Dakota, LLC

knew that the financial statements would be used as guidance by others in determining whether

to lease the facilities.

        892.     Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Madison South Dakota, LLC; and GGNSC Madison South Dakota, LLC

knew that the misrepresentations in the financial statements would be relied upon by Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Madison Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

        893.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Madison Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement


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with Defendants GPH Madison South Dakota, LLC and GGNSC Madison South Dakota, LLC,

respectively.

       894.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Madison Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Madison South Dakota, LLC; and GGNSC Madison South

Dakota, LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 105
                     FRAUDULENT MISREPRESENTATION – MEADOWBROOK

       895.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       896.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City Meadowbrook Manor, LLC; and GGNSC Rapid City Meadowbrook

Manor, LLC, through their agent Houlihan Lokey, made representations, in writing, to Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and Rehabilitation Center, LLC

regarding the recent financial history of the nursing home facility located at 2500 Arrowhead

Drive, Rapid City, South Dakota.

       897.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Meadowbrook Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E.

Silva; GGNSC Administrative Services, LLC; GPH Rapid City Meadowbrook Manor, LLC; and

GGNSC Rapid City Meadowbrook Manor, LLC was false when it was made.

       898.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Meadowbrook Manor, LLC; and GGNSC Rapid City

Meadowbrook Manor, LLC knew at that time that the financial statements were false and/or

were made recklessly without knowledge of its truth.


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       899.   The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       900.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Rapid City Meadowbrook Manor, LLC and GGNSC

Rapid City Meadowbrook Manor, LLC, respectively.

       901.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Rapid City

Meadowbrook Manor, LLC; and GGNSC Rapid City Meadowbrook Manor, LLC in an amount

exceeding $ 75,000.

                                      COUNT 106
                      NEGLIGENT MISREPRESENTATION – MEADOWBROOK

       902.   Plaintiffs incorporate by reference paragraphs 1 through 212.

       903.   Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City Meadowbrook Manor, LLC; and GGNSC Rapid City Meadowbrook

Manor, LLC, through their agent Houlihan Lokey, made representations, in writing, to Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and Rehabilitation Center, LLC

regarding the recent financial history of the nursing home facility located at 2500 Arrowhead

Drive, Rapid City, South Dakota.

       904.   Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Meadowbrook Manor, LLC; and GGNSC Rapid City


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Meadowbrook Manor, LLC knew that the financial statements would be used as guidance by

others in determining whether to lease the facilities.

       905.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City Meadowbrook Manor, LLC; and GGNSC Rapid City

Meadowbrook Manor, LLC knew that the misrepresentations in the financial statements would

be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and

Rehabilitation Center, LLC in determining whether to lease the facilities.

       906.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Rapid City Meadowbrook Manor, LLC and GGNSC

Rapid City Meadowbrook Manor, LLC, respectively.

       907.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Meadowbrook Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Rapid City Meadowbrook Manor, LLC; and

GGNSC Rapid City Meadowbrook Manor, LLC’s misrepresentations of material facts in an

amount exceeding $ 75,000.

                                            COUNT 107
                        FRAUDULENT MISREPRESENTATION – MILBANK

       908.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       909.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Milbank Care and Rehabilitation Center, LLC regarding the recent financial history of the


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nursing home facility located at 1103 South Second Street, Milbank, South Dakota.

       910.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Milbank Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC

was false when it was made.

       911.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       912.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Milbank Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       913.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Milbank Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Milbank II, LLC and GGNSC Milbank II, LLC, respectively.

       914.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Milbank Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Milbank II, LLC; and GGNSC

Milbank II, LLC in an amount exceeding $ 75,000.

                                           COUNT 108
                        NEGLIGENT MISREPRESENTATION – MILBANK

       915.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       916.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC, through their agent Houlihan


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Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Milbank Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 1103 South Second Street, Milbank, South Dakota.

        917.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        918.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Milbank Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        919.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Milbank Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Milbank II, LLC and GGNSC Milbank II, LLC, respectively.

        920.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Milbank Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                           COUNT 109
                        FRAUDULENT MISREPRESENTATION – MOBRIDGE

        921.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        922.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Mobridge, LLC; and GGNSC Mobridge, LLC, through their agent Houlihan Lokey,


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made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Mobridge

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 1100 4th Avenue East, Mobridge, South Dakota.

       923.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Mobridge Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Mobridge, LLC; and GGNSC Mobridge, LLC was

false when it was made.

       924.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Mobridge, LLC; and GGNSC Mobridge, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       925.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Mobridge Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       926.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Mobridge Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Mobridge, LLC and GGNSC Mobridge, LLC,

respectively.

       927.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Mobridge Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Mobridge, LLC;

and GGNSC Mobridge, LLC in an amount exceeding $ 75,000.




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                                           COUNT 110
                         NEGLIGENT MISREPRESENTATION – MOBRIDGE

        928.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        929.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Mobridge, LLC; and GGNSC Mobridge, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Mobridge

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 1100 4th Avenue East, Mobridge, South Dakota.

        930.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Mobridge, LLC; and GGNSC Mobridge, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        931.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Mobridge, LLC; and GGNSC Mobridge, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Mobridge Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        932.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Mobridge Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Mobridge, LLC and GGNSC Mobridge, LLC,

respectively.

        933.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Mobridge Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Mobridge, LLC; and GGNSC Mobridge, LLC’s


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misrepresentations of material facts in an amount exceeding $ 75,000.

                                      COUNT 111
                       FRAUDULENT MISREPRESENTATION –PARK PLACE

       934.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       935.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Park

Place Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing

home facility located at 1105 South Second Street, Milbank, South Dakota.

       936.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Park Place Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC

was false when it was made.

       937.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       938.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Park Place Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       939.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Park Place Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Milbank II, LLC and GGNSC Milbank II, LLC,

respectively.


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        940.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Park Place Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Milbank II, LLC;

and GGNSC Milbank II, LLC in an amount exceeding $ 75,000.

                                       COUNT 112
                        NEGLIGENT MISREPRESENTATION – PARK PLACE

        941.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        942.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC _, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Park

Place Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing

home facility located at 1105 South Second Street, Milbank, South Dakota.

        943.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC knew that the financial

statements would be used as guidance by others in determining whether to lease the facilities.

        944.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Park Place Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        945.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Park Place Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Milbank II, LLC and GGNSC Milbank II, LLC,


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respectively.

       946.     Plaintiffs Joseph Schwartz, Rosie Schwartz, and Park Place Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Milbank II, LLC; and GGNSC Milbank II, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 113
                          FRAUDULENT MISREPRESENTATION – PIERRE

       947.     Plaintiffs incorporate by reference paragraphs 1 through 212.

       948.     Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Pierre, LLC; and GGNSC Pierre, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pierre Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 950 East Park Street, Pierre, South Dakota.

       949.     The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Pierre Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Pierre, LLC; and GGNSC Pierre, LLC was false

when it was made.

       950.     Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Pierre, LLC; and GGNSC Pierre, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       951.     The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pierre Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.


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       952.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pierre Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Pierre, LLC and GGNSC Pierre, LLC, respectively.

       953.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pierre Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Pierre, LLC; and GGNSC Pierre,

LLC in an amount exceeding $ 75,000.

                                           COUNT 114
                          NEGLIGENT MISREPRESENTATION – PIERRE

       954.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       955.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Pierre, LLC; and GGNSC Pierre, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pierre Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 950 East Park Street, Pierre, South Dakota.

       956.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Pierre, LLC; and GGNSC Pierre, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       957.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Pierre, LLC; and GGNSC Pierre, LLC knew that the misrepresentations in

the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Pierre Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       958.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pierre Care and Rehabilitation


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Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Pierre, LLC and GGNSC Pierre, LLC, respectively.

       959.   Plaintiffs Joseph Schwartz, Rosie Schwartz, and Pierre Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Pierre, LLC; and GGNSC Pierre, LLC’s misrepresentations

of material facts in an amount exceeding $ 75,000.

                                          COUNT 115
                     FRAUDULENT MISREPRESENTATION – PRAIRIE HILLS

       960.   Plaintiffs incorporate by reference paragraphs 1 through 212.

       961.   Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City II, LLC; and GGNSC Rapid City II, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Prairie Hills Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 916 Mountain View Road, Rapid City, South Dakota.

       962.   The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Prairie Hills Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Rapid City II, LLC; and GGNSC Rapid City II,

LLC was false when it was made.

       963.   Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City II, LLC; and GGNSC Rapid City II, LLC knew at that time that

the financial statements were false and/or were made recklessly without knowledge of its truth.

       964.   The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Prairie Hills Care and Rehabilitation Center,


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LLC would rely upon them in determining whether to lease the facilities.

        965.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Prairie Hills Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Rapid City II, LLC and GGNSC Rapid City II, LLC,

respectively.

        966.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Prairie Hills Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Rapid City II,

LLC; and GGNSC Rapid City II, LLC in an amount exceeding $ 75,000.

                                           COUNT 116
                       NEGLIGENT MISREPRESENTATION – PRAIRIE HILLS

        967.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        968.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Rapid City II, LLC; and GGNSC Rapid City II, LLC, through their agent Houlihan

Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Prairie Hills Care and Rehabilitation Center, LLC regarding the recent financial history of the

nursing home facility located at 916 Mountain View Road, Rapid City, South Dakota.

        969.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City II, LLC; and GGNSC Rapid City II, LLC knew that the

financial statements would be used as guidance by others in determining whether to lease the

facilities.

        970.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Rapid City II, LLC; and GGNSC Rapid City II, LLC knew that the


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misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Prairie Hills Care and Rehabilitation Center, LLC in determining

whether to lease the facilities.

        971.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Prairie Hills Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Rapid City II, LLC and GGNSC Rapid City II, LLC,

respectively.

        972.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Prairie Hills Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Rapid City II, LLC; and GGNSC Rapid City II,

LLC’s misrepresentations of material facts in an amount exceeding $ 75,000.

                                       COUNT 117
                         FRAUDULENT MISREPRESENTATION – REDFIELD

        973.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        974.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Redfield, LLC; and GGNSC Redfield, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Redfield

Care and Rehabilitation Center, LLC regarding the recent financial history of the nursing home

facility located at 1015 Third Street East, Redfield, South Dakota.

        975.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Redfield Care and Rehabilitation Center, LL by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Redfield, LLC; and GGNSC Redfield, LLC was

false when it was made.


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       976.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Redfield, LLC; and GGNSC Redfield, LLC knew at that time that the

financial statements were false and/or were made recklessly without knowledge of its truth.

       977.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Redfield Care and Rehabilitation Center, LL

would rely upon them in determining whether to lease the facilities.

       978.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Redfield Care and Rehabilitation

Center, LL justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Redfield, LLC and GGNSC Redfield, LLC, respectively.

       979.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Redfield Care and Rehabilitation

Center, LL were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Redfield, LLC; and GGNSC

Redfield, LLC in an amount exceeding $ 75,000.

                                      COUNT 118
                        NEGLIGENT MISREPRESENTATION – REDFIELD

       980.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       981.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Redfield, LLC; and GGNSC Redfield, LLC, through their agent Houlihan Lokey,

made representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Redfield

Care and Rehabilitation Center, LL regarding the recent financial history of the nursing home

facility located at 1015 Third Street East, Redfield, South Dakota.

       982.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Redfield, LLC; and GGNSC Redfield, LLC knew that the financial


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statements would be used as guidance by others in determining whether to lease the facilities.

        983.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Redfield, LLC; and GGNSC Redfield, LLC knew that the

misrepresentations in the financial statements would be relied upon by Plaintiffs Joseph

Schwartz, Rosie Schwartz, and Redfield Care and Rehabilitation Center, LL in determining

whether to lease the facilities.

        984.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Redfield Care and Rehabilitation

Center, LL justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Redfield, LLC and GGNSC Redfield, LLC, respectively.

        985.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Redfield Care and Rehabilitation

Center, LL were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Redfield, LLC; and GGNSC Redfield, LLC’s

misrepresentations of material facts in an amount exceeding $ 75,000.

                                        COUNT 119
                           FRAUDULENT MISREPRESENTATION – SALEM

        986.    Plaintiffs incorporate by reference paragraphs 1 through 212.

        987.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Salem, LLC; and GGNSC Salem, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Salem Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 500 Colonial Drive, Salem, South Dakota.

        988.    The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Salem Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;


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GGNSC Administrative Services, LLC; GPH Salem, LLC and GGNSC Salem, LLC was false

when it was made.

       989.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Salem, LLC; and GGNSC Salem, LLC knew at that time that the financial

statements were false and/or were made recklessly without knowledge of its truth.

       990.    The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Salem Care and Rehabilitation Center, LLC

would rely upon them in determining whether to lease the facilities.

       991.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Salem Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Salem, LLC and GGNSC Salem, LLC, respectively.

       992.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Salem Care and Rehabilitation

Center, LLC were damaged by the fraudulent misrepresentations of Defendants Nicholas Finn;

Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Salem, LLC; and GGNSC Salem,

LLC in an amount exceeding $ 75,000.

                                       COUNT 120
                          NEGLIGENT MISREPRESENTATION – SALEM

       993.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       994.    Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Salem, LLC; and GGNSC Salem, LLC, through their agent Houlihan Lokey, made

representations, in writing, to Plaintiffs Joseph Schwartz, Rosie Schwartz, and Salem Care and

Rehabilitation Center, LLC regarding the recent financial history of the nursing home facility

located at 500 Colonial Drive, Salem, South Dakota.


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       995.    Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Salem, LLC; and GGNSC Salem, LLC knew that the financial statements

would be used as guidance by others in determining whether to lease the facilities.

       996.    Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Salem, LLC; and GGNSC Salem, LLC knew that the misrepresentations in

the financial statements would be relied upon by Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Salem Care and Rehabilitation Center, LLC in determining whether to lease the facilities.

       997.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Salem Care and Rehabilitation

Center, LLC justifiably relied upon the financials and entered into an OTA and lease agreement

with Defendants GPH Salem, LLC and GGNSC Salem, LLC, respectively.

       998.    Plaintiffs Joseph Schwartz, Rosie Schwartz, and Salem Care and Rehabilitation

Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva; GGNSC

Administrative Services, LLC; GPH Salem, LLC; and GGNSC Salem, LLC’s misrepresentations

of material facts in an amount exceeding $ 75,000.

                                      COUNT 121
                      FRAUDULENT MISREPRESENTATION – WATERTOWN

       999.    Plaintiffs incorporate by reference paragraphs 1 through 212.

       1000. Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,

LLC; GPH Watertown Acquisition, LLC; and GGNSC Watertown Operating, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Watertown Care and Rehabilitation Center, LLC regarding the recent

financial history of the nursing home facility located at 415 4th Avenue NE, Watertown, South

Dakota.


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       1001. The financial history provided to Plaintiffs Joseph Schwartz, Rosie Schwartz, and

Watertown Care and Rehabilitation Center, LLC by Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Watertown Acquisition, LLC; and GGNSC

Watertown Operating, LLC was false when it was made.

       1002. Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Watertown Acquisition, LLC; and GGNSC Watertown Operating, LLC

knew at that time that the financial statements were false and/or were made recklessly without

knowledge of its truth.

       1003. The financial statements were prepared and distributed with the intention that

Plaintiffs Joseph Schwartz, Rosie Schwartz, and Watertown Care and Rehabilitation Center,

LLC would rely upon them in determining whether to lease the facilities.

       1004. Plaintiffs Joseph Schwartz, Rosie Schwartz, and Watertown Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Watertown Acquisition, LLC and GGNSC Watertown

Operating, LLC, respectively.

       1005. Plaintiffs Joseph Schwartz, Rosie Schwartz, and Watertown Care and

Rehabilitation Center, LLC were damaged by the fraudulent misrepresentations of Defendants

Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services, LLC; GPH Watertown

Acquisition, LLC; and GGNSC Watertown Operating, LLC in an amount exceeding $ 75,000.

                                          COUNT 122
                          NEGLIGENT MISREPRESENTATION – WATERTOWN

       1006. Plaintiffs incorporate by reference paragraphs 1 through 212.

       1007. Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative Services,


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LLC; GPH Watertown Acquisition, LLC; and GGNSC Watertown Operating, LLC, through

their agent Houlihan Lokey, made representations, in writing, to Plaintiffs Joseph Schwartz,

Rosie Schwartz, and Watertown Care and Rehabilitation Center, LLC regarding the recent

financial history of the nursing home facility located at 415 4th Avenue NE, Watertown, South

Dakota.

        1008. Further, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Watertown Acquisition, LLC; and GGNSC Watertown Operating, LLC

knew that the financial statements would be used as guidance by others in determining whether

to lease the facilities.

        1009. Specifically, Defendants Nicholas Finn; Ronald E. Silva; GGNSC Administrative

Services, LLC; GPH Watertown Acquisition, LLC; and GGNSC Watertown Operating, LLC

knew that the misrepresentations in the financial statements would be relied upon by Plaintiffs

Joseph Schwartz, Rosie Schwartz, and Watertown Care and Rehabilitation Center, LLC in

determining whether to lease the facilities.

        1010. Plaintiffs Joseph Schwartz, Rosie Schwartz, and Watertown Care and

Rehabilitation Center, LLC justifiably relied upon the financials and entered into an OTA and

lease agreement with Defendants GPH Watertown Acquisition, LLC and GGNSC Watertown

Operating, LLC, respectively.

        1011. Plaintiffs Joseph Schwartz, Rosie Schwartz, and Watertown Care and

Rehabilitation Center, LLC were damaged by the Defendants Nicholas Finn; Ronald E. Silva;

GGNSC Administrative Services, LLC; GPH Watertown Acquisition, LLC; and GGNSC

Watertown Operating, LLC’s misrepresentations of material facts in an amount exceeding



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$75,000.

WHEREFORE, Plaintiffs respectfully request that this Court:

              i.   Enter judgment on Plaintiffs’ behalf on each of the counts in Plaintiffs’

                   Complaint;

            ii.    Award Plaintiffs punitive damages;

            iii.   Award Plaintiffs their costs and attorney fees; and

            iv.    Grant Plaintiffs such other relief as the Court deems just and proper.


                                          JURY DEMAND
       Plaintiffs hereby request trial by jury.



                                                  Respectfully submitted,

                                                  /s/ Robert J. Fedor
                                                  ROBERT J. FEDOR, ESQ., LLC
                                                  Robert J. Fedor (OH #0042653)
                                                  Pro Hac Vice Application Forthcoming
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